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   7
                      IN THE UNITED STATES DISTRICT COURT FOR
   8

   9                    THE SOUTHERN DISTRICT OF CALIFORNIA
  10

  11
       MICHELLE MORIARTY, an                     Case No.: 3:17-cv-01154-LAB-AGS
       individual, as Successor in Interest to
  12
       the ESTATE OF HERON                       PRETRIAL CONFERENCE ORDER
       MORIARTY and as GUARDIAN AD
  13
       LITEM to ALEXANDRIA                       Pre-Trial Conf. Date: January 21, 2019
       MORIARTY, ELIJAH MORIARTY,                Time: 12:00 p.m.
  14
       and ETERNITY MORIARTY,                    Dept: Courtroom 14A
                                                 Judge: Hon. Larry A. Burns
  15
                                 Plaintiff,

  16
             v.

  17
       COUNTY OF SAN DIEGO, and
       DOES 1 through 10, Inclusive,
  18                             Defendants.
  19

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       PRETRIAL CONFERENCE ORDER                           Case No.: 3:17-cv-01154-LAB-AGS
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   1         Pursuant to Rule 16 of the Federal Rules of Civil Procedure, Civil Local Rule
   2   16, and this Court’s Standing Order in Civil Cases. IT IS SO ORDERED:
   3                                              I.
   4                             STATEMENT OF THE CASE
   5         On the night of May 31, 2016, Heron Moriarty, age 43, committed suicide
   6   while he was an inmate in the Vista jail. The case is brought by the Plaintiffs: Mr.
   7   Moriarty’s wife Michelle and their three children Alexandria, Elijah and Eternity.
   8   Mr. Moriarty’s Estate is also a Plaintiff in this matter. Plaintiffs contend Mr.
   9   Moriarty’s suicide was foreseeable and preventable. They seek monetary damages
  10   for his death.
  11         Plaintiffs allege that the following defendants failed to take appropriate steps
  12   to prevent Mr. Moriarty from committing suicide:
  13         County of San Diego – the owner of the County jail system;
  14         Dale Weidenthaler – a sergeant in the jail;
  15         Ralph Lissaur, M.D. – a psychiatrist that contracted with CPMG to provide
  16   psychiatric services on the weekend and who evaluated Moriarty at the jail twice,
  17   on May 28, 2016 and May 30, 2016; and
  18         Amanda Daniels – a CPMG mental health nurse practitioner (herein “NP”)
  19   who evaluated Moriarty at the jail on May 31, 2016, the day Mr. Moriarty
  20   committed suicide;
  21         CPMG – the private entity that contracted with the county to provide
  22   psychiatric services for inmates at the jail. CPMG is the employer of NP Daniels
  23   and Dr. Lissaur.
  24         The Parties agree to the following facts:
  25         1.     Moriarty was 44 years old. He was married to his wife Michelle. They
  26   had three children, Alexandria, Elijah, and Eternity.
  27         2.     In the weeks leading up to his death, Moriarty began to exhibit signs of
  28   mental illness and had two psychiatric hospitalizations. During the first
                                                  2
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   1   hospitalization, he was placed on a “5150” hold for three days. 5150 is a section of
   2   the California Welfare and Institutions Code that provides adults who are
   3   considered a “danger to themselves or others, or who are gravely disabled” may be
   4   placed on an involuntary hold for up to 72-hours. During the second
   5   hospitalization, on May 1, 2016, he was put on a 14-day hold. During these
   6   episodes, Moriarty was acting bizarre and manic. He made threats to harm himself
   7   and others.
   8         3.      On the evening of May 25, 2016, San Diego Sheriff Deputies were
   9   dispatched to an address in Jamul in response to a report of vandalism, which they
  10   learned had been committed by Moriarty; he reportedly threw a chair through his
  11   brother’s patio door and drove away. A short while later, the deputies were sent to
  12   another address two miles away, in response to a report of a man threatening
  13   suicide. En route to that call, they heard a call requesting assistance; a man had
  14   crashed into several parked cars and was standing in the street, attempting to get hit
  15   by passing cars. When Deputies arrived and compared descriptions of the suspects,
  16   they realized Moriarty was involved in all three incidents. While on scene, Moriarty
  17   made several remarks suggesting he would provoke the Deputies to shoot him.
  18   Moriarty was arrested for vandalism.
  19         4.      Following his arrest, Moriarty was transported to the Rancho San
  20   Diego holding station. While at the holding station, Moriarty made more remarks
  21   about provoking the Deputies to kill him, and violently kicked his cell door. The
  22   Deputies realized Moriarty was having a mental breakdown, put him in restraints,
  23   and transferred him to Central Jail. Because of the County’s temporary policy then
  24   in place (known as the Pilot Program), the Deputies did not take Moriarty for
  25   psychological clearance before transporting him to Central jail.
  26         5.      At Central Jail, Moriarty was asked if he was suicidal. He answered
  27   “no,” then “yes.” The sergeant on duty refused to accept him, because the Central
  28   Jail did not have a safety cell available. The sergeant confirmed that a safety cell
                                                  3
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   1   was available at Vista Detention Facility (herein “VDF”), and told a VDF sergeant
   2   that Moriarty was en route to VDF. A “safety cell” is a secured cell meant to
   3   prevent an inmate from harming himself or others but not meant for long-term
   4   confinement.
   5         6.     The Deputies transported Moriarty to VDF. Because of the policy then
   6   in place, he was not taken for psychological evaluation and clearance before being
   7   transferred to VDF.
   8         7.     On the early hours of May 26, 2016, when the two initial Deputies
   9   arrived at VDF, they were contacted by a VDF intake deputy. As soon as they
  10   arrived to VDF, the arresting Deputy told the VDF intake deputy about Moriarty’s
  11   admission to feeling suicidal. The VDF intake deputy did not relay that information
  12   to the medical staff. The medical intake nurse denies being informed Moriarty was
  13   suicidal or in need of a safety cell. Moriarty was sent through the routine booking
  14   process.
  15         8.     Later that day, Moriarty was going to be transferred back to Central
  16   Jail. Before the transfer, Moriarty made bizarre and threatening comments to other
  17   inmates. A decision was made to keep Moriarty at VDF and he was placed in an
  18   administrative-segregation cell (“ad-seg”), which is a single occupant cell for
  19   assaultive/homicidal inmates.
  20         9.     On Saturday, May 28, 2016, Mr. Moriarty was evaluated by CPMG
  21   psychiatrist Ralph Lissaur, M.D. His assessment was that Moriarty was not
  22   suicidal. Dr. Lissaur determined Moriarty was bipolar, and was currently exhibiting
  23   manic behavior with psychotic features.
  24         10.    Dr. Lissaur evaluated Moriarty again on May 30, 2016. As he had
  25   previously, Dr. Lissaur determined that Heron Moriarty was experiencing a
  26   bipolar/manic episode. Dr. Lissaur recommended that if Moriarty were to be
  27   released the next day, he should be taken to a hospital and placed on an involuntary
  28
                                                 4
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   1   psychiatric 72-hour hold for evaluation, which is commonly called a “5150 hold.”
   2   Moriarty returned to the ad-seg cell after this evaluation with Dr. Lissaur.
   3         11.    During Moriarty’s detainment at VDF, his wife, Michelle, called VDF
   4   31 times out of concern for her husband. The Parties do not agree whether Michelle
   5   advised jail personnel that Moriarty was suicidal. Due in part to Michelle’s
   6   continued concern, VDF officials asked NP Daniels to evaluate Moriarty on the
   7   morning of May 31, 2016, so that she could present her findings to the Multi-
   8   Disciplinary Group meeting, which took place later that morning at 10:00 a.m. The
   9   Multi-Disciplinary Group meeting is a designated meeting to discuss select
  10   inmates’ medical, psychiatric, and housing needs. Present at the meeting were NP
  11   Daniels, Captain Schroeder, Lt. Mitchell, Dr. Goldstein, and Arnold Fajayan.
  12         12.    NP Daniels did not believe Moriarty was suicidal, but she did
  13   determine that Moriarty was psychotic and homicidal because he threatened to kill
  14   anyone who came into his cell to try to move him to a psychiatric hospital. NP
  15   Daniels recommended that Mr. Moriarty be placed in a Safety Cell.
  16         13.    Sgt. Weidenthaler was told that NP Daniels recommended Moriarty be
  17   placed in a safety cell because he was homicidal. Sgt. Weidenthaler denied the
  18   recommendation.
  19         14.    At one point that day, Sgt. Weidenthaler told nursing staff it was his
  20   “Friday” and he was planning to leave early. The Parties disagree as to the timing
  21   of Sgt. Weidenthlaer’s comment.
  22         15.    Four days prior, on May 27, 2016, Sgt. Weidenthlaer was briefed by
  23   Sgt. Hightower and Sgt. McNeely regarding certain events surrounding Moriarty’s
  24   intake.
  25         16.    Approximately an hour and half after Nurse Daniels’ evaluation on
  26   May 31, 2016, Moriarty’s treatment was discussed in a multi-disciplinary group
  27   meeting. The Parties disagree whether NP Daniels’ recommendation and
  28   Weidenthlaer’s denial was discussed during the meeting. NP Daniels does not recall
                                                 5
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   1   whether or not she told the MDG participants about her safety cell recommendation
   2   and Weidenthaler’s denial. NP Daniels believed that the other committee members
   3   knew her recommendation had been overruled and that the MDG was merely
   4   considering alternatives. Plaintiffs contend other participants in the meeting
   5   testified NP Daniels did not relay that information. Placement of Moriarty in the
   6   “Psychiatric Stabilization Unit” (“PSU”) was discussed during the multi-
   7   disciplinary group meeting. Ultimately, because Moriarty promised to take
   8   prescribed medication, a decision was made to keep Moriarty in ad-seg.
   9         17.    During the meeting, NP Daniels recommended keeping Mr. Moriarty
  10   at VDF instead of transferring him to the downtown San Diego “Psychiatric
  11   Stabilization Unit” since Moriarty was now agreeing to take the medication
  12   prescribed by the psychiatrist. The decision was made by the MDG to keep
  13   Moriarty in ad-seg.
  14         18.    About 12 hours later, Moriarty was found dead in his cell from an
  15   apparent suicide.
  16                             EXPLANATION OF CLAIMS
  17         Specifically, Plaintiffs claim that Dr. Lissaur was objectively indifferent
  18   when he failed to recognize Moriarty’s suicidal ideations and warning signs; and
  19   thereby denied Moriarty adequate medical care. By causing Moriarty’s suicide,
  20   Plaintiffs claim Dr. Lissaur deprived them of a familial relationship. Based on these
  21   same facts, Plaintiffs allege Dr. Lissaur was also negligent. CPMG is being sued
  22   vicariously, for contracting with Dr. Lissaur for his services. Dr. Lissaur claims that
  23   in his professional judgment, Moriarty was experiencing a bipolar/manic episode
  24   but was not suicidal. Dr. Lissaur evaluated Moriarty as being potentially homicidal
  25   but not suicidal, and asserts he did not act with deliberate indifference to a
  26   substantial risk Moriarty was suicidal. Dr. Lissaur also maintains he complied
  27   with the standard of care. He further asserts that the intervening and superseding
  28   ///
                                                  6
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   1   acts of Nurse Daniels, Sgt. Weidenthaler, and the MDG meeting on the day after
   2   Dr. Lissaur’s last evaluation of Moriarty break the chain of proximate cause. .
   3         Plaintiffs claim that Nurse Daniels failed to recognize Moriarty’s suicidal
   4   ideations and warning signs; and failed to present an accurate clinical presentation
   5   to the MDG officials. Nurse Daniels also failed to advocate for her patient by not
   6   sending Moriarty to the Psychiatric Stabilization Unit. CPMG is being sued
   7   vicariously, as the employer of Nurse Daniels. CPMG and Nurse Daniels claim that
   8   they complied with the standard of care and did not cause or contribute to the
   9   suicide.
  10         Plaintiffs claim that Sgt. Weidenthaler improperly rejected Nurse Daniels’
  11   recommendation to transfer Heron Moriarty to a safety cell because it was his
  12   “Friday” and he planned to leave early. Sgt. Weidenthaler claims that he is immune
  13   from liability, complied with the standard of care, and did not cause the suicide.
  14         Lastly, Plaintiff alleges the County of San Diego is responsible for Mr.
  15   Moriarty’s death because it maintained an inadequate suicide prevention policy and
  16   training program. Plaintiff also alleges the Pilot Program policy which directed
  17   Deputies not to take suicidal inmates to CMH for psychiatric clearance prior to
  18   being booked in jail, also caused Moriarty’s suicide.
  19                                            II.
  20               SUMMARY OF CLAIMS, DAMAGES AND DEFENSES
  21   First Claim – Section 1983 Objective Indifference Against Dr. Lissaur –
  22   Brought by Michelle Moriarty as Successor in Interest to Mr. Moriarty:
  23   Elements:
  24         1.     Defendant made an intentional decision regarding the denial of needed
  25                medical care;
  26         2.     The denial of needed medical care put Mr. Moriarty at a substantial
  27                risk of suffering serious harm;
  28   ///
                                                 7
       PRETRIAL CONFERENCE ORDER                            Case No.: 3:17-cv-01154-LAB-AGS
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   1           3.    Defendant did not take reasonable available measures to abate or
   2                 reduce the risk of serious harm, even though a reasonable provider
   3                 under the circumstances would have understood the high degree or risk
   4                 involved – making the consequences of Defendant’s conduct obvious;
   5                 and
   6           4.    By not taking such measures Defendant caused Mr. Moriarty’s
   7                 injuries.
   8                 With respect to the third element, Defendant’s conduct must be
   9                 objectively unreasonable.
  10   See Ninth Circuit Manuel of Model Civil Jury Instructions, Civil Rights Actions
  11   section 9.30 (2019).
  12   Damages:
  13           On behalf of Mr. Moriarty, his Successor in Interest is entitled to recover
  14   compensatory and punitive damages. Compensatory damages in this case includes
  15   lost wages, physical pain and suffering, and emotional pain and suffering. Under
  16   federal law, Mr. Moriarty’s Successor in Interest is also entitled to pre-death pain
  17   and suffering as well as loss of life damages. Chaudhry v. City of Los Angeles, 751
  18   F.3d 1096, 1003 (9th Cir. 2014). Further, upon prevailing at trial, the Civil Rights
  19   Attorney’s Fee Award Act of 1976, 42 U.S.C. section 1988, allows a court, in its
  20   discretion, to award reasonable attorneys’ fees as part of costs to a prevailing party
  21   in federal civil rights lawsuits, including cases brought under 42 U.S.C. section
  22   1983.
  23   Defendant’s Defenses:
  24           Defendant Dr. Lissaur did not make an intentional decision regarding the
  25   denial of needed medical care. The Court’s prior orders (Dkt. Nos. 87 and 123) are
  26   the law of the case with binding effect on the remaining triable issues and Plaintiffs
  27   cannot sustain their burden to satisfy any of the elements of this claim. Moreover,
  28   Plaintiffs cannot demonstrate any actions of Defendant Dr. Lissaur proximately
                                                  8
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   1   caused Moriarty’s death as there were superseding intervening causes.
   2   Second Claim – Section 1983 Policy/Custom Relating to Inadequate Suicide
   3   Prevention Program Against the County – Brought by Michelle Moriarty as
   4   Successor in Interest to Mr. Moriarty:
   5   Elements:
   6         1.     The County’s employees acted under color of law;
   7         2.     The acts of the County’s employees deprived Mr. Moriarty of his
   8                particular rights under the United States Constitution as explained in
   9                later instructions;
  10         3.     The County’s employees acted pursuant to the County’s longstanding
  11                policy or custom; and
  12         4.     The County’s inadequate suicide prevention program caused the
  13                deprivation of Mr. Moriarty’s rights; that is, the County’s inadequate
  14                suicide prevention policy is so closely related to the deprivation of the
  15                Mr. Moriarty’s rights as to be the moving force that caused his
  16                ultimate injury.
  17   See Ninth Circuit Manuel of Model Civil Jury Instructions, Civil Rights Actions
  18   section 9.5 (2019).
  19   Damages:
  20         On behalf of Mr. Moriarty, his Successor in Interest is entitled to recover
  21   compensatory damages. Compensatory damages in this case includes lost wages,
  22   loss of future job opportunities, physical pain and suffering, and emotional pain and
  23   suffering. Under federal law, Mr. Moriarty’s Successor in Interest is also entitled to
  24   pre-death pain and suffering as well as loss of life damages. Chaudhry v. City of
  25   Los Angeles, 751 F.3d 1096, 1003 (9th Cir. 2014). Further, upon prevailing at trial,
  26   the Civil Rights Attorney’s Fee Award Act of 1976, 42 U.S.C. section 1988, allows
  27   a court, in its discretion, to award reasonable attorneys’ fees as part of costs to a
  28   ///
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   1   prevailing party in federal civil rights lawsuits, including cases brought under 42
   2   U.S.C. section 1983.
   3   Defendant’s Defenses:
   4         The COUNTY and/or Defendant Weidenthaler intend to raise the following
   5   affirmative defenses:
   6         1.     Qualified immunity;
   7         2.     Contributory fault of other parties and non-parties;
   8         3.     Comparative fault of decedent, Heron Moriarty;
   9         4.     Immunity from liability for any state law wrongful death or negligence
  10   claims pursuant to Government Code section 855.6
  11         5.     Immunity from liability for any state law wrongful death or negligence
  12   claims
  13         6.     Immunity from liability for any state law wrongful death or negligence
  14   claims pursuant to Government Code section 820.2
  15         7.     Immunity from liability for any state law wrongful death or negligence
  16   claims pursuant to Government Code section 845.6
  17         8.     Immunity from liability for any state law wrongful death or negligence
  18   claims pursuant to Government Code section 856.4 pursuant to Government Code
  19   section 855.8
  20         9.     “Pursuant to Rule 16 of the Federal Rules of Civil Procedure, at any
  21   pretrial conference, the court may take the appropriate action to eliminate frivolous
  22   claims or defenses and otherwise consider the appropriateness of summary
  23   adjudication under Rule 56. Fed. R. Civ. P. 16(c)(2)(A), (E), (L), (N) and (P).
  24   Applicable local rules also authorize the court to consider all matters referred to in
  25   Rule 16 and other “matters which may be presented concerning parties, process,
  26   pleading or proof with a view to simplifying issues and bringing about a just,
  27   speedy and inexpensive determination of the matter.” Local Rule 16.1(f)(5)(a) and
  28   (c). As such, the County will request a briefing schedule to address those issues; in
                                                 10
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   1   particular, the viability of plaintiffs’ claims against the County given that there are
   2   no longer any surviving constitutional claims against any of the individual
   3   defendants employed by the County.”
   4   Third Claim – Section 1983 Policy/Custom Relating to the Pilot Program
   5   Against the County– Brought by Michelle Moriarty as Successor in Interest to Mr.
   6   Moriarty:
   7   Elements:
   8         1.     The County’s employees acted under color of law;
   9         2.     The acts of the County’s employees deprived Mr. Moriarty of his
  10                particular rights under the United States Constitution as explained in
  11                later instructions;
  12         3.     The County’s employees acted pursuant to the County’s longstanding
  13                policy or custom; and
  14         4.     The County’s Pilot Program caused the deprivation of Mr. Moriarty’s
  15                rights; that is, the County’s Pilot Program is so closely related to the
  16                deprivation of the Mr. Moriarty’s rights as to be the moving force that
  17                caused his ultimate injury.
  18   See Ninth Circuit Manuel of Model Civil Jury Instructions, Civil Rights Actions
  19   section 9.5 (2019).
  20   Damages:
  21         On behalf of Mr. Moriarty, his Successor in Interest is entitled to recover
  22   compensatory damages. Compensatory damages in this case includes lost wages,
  23   loss of future job opportunities, physical pain and suffering, and emotional pain and
  24   suffering. Under federal law, Mr. Moriarty’s Successor in Interest is also entitled to
  25   pre-death pain and suffering as well as loss of life damages. Chaudhry v. City of
  26   Los Angeles, 751 F.3d 1096, 1003 (9th Cir. 2014). Further, upon prevailing at trial,
  27   the Civil Rights Attorney’s Fee Award Act of 1976, 42 U.S.C. section 1988, allows
  28   a court, in its discretion, to award reasonable attorneys’ fees as part of costs to a
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   1   prevailing party in federal civil rights lawsuits, including cases brought under 42
   2   U.S.C. section 1983.
   3   Defendant’s Defenses:
   4         The COUNTY and/or Defendant Weidenthaler intend to raise the following
   5   affirmative defenses:
   6         1.     Qualified immunity;
   7         2.     Contributory fault of other parties and non-parties;
   8         3.     Comparative fault of decedent, Heron Moriarty;
   9         4.     Immunity from liability for any state law wrongful death or negligence
  10   claims pursuant to Government Code section 855.6
  11         5.     Immunity from liability for any state law wrongful death or negligence
  12   claims
  13         6.     Immunity from liability for any state law wrongful death or negligence
  14   claims pursuant to Government Code section 820.2
  15         7.     Immunity from liability for any state law wrongful death or negligence
  16   claims pursuant to Government Code section 845.6
  17         8.     Immunity from liability for any state law wrongful death or negligence
  18   claims pursuant to Government Code section 856.4 pursuant to Government Code
  19   section 855.8
  20         9.     “Pursuant to Rule 16 of the Federal Rules of Civil Procedure, at any
  21   pretrial conference, the court may take the appropriate action to eliminate frivolous
  22   claims or defenses and otherwise consider the appropriateness of summary
  23   adjudication under Rule 56. Fed. R. Civ. P. 16(c)(2)(A), (E), (L), (N) and (P).
  24   Applicable local rules also authorize the court to consider all matters referred to in
  25   Rule 16 and other “matters which may be presented concerning parties, process,
  26   pleading or proof with a view to simplifying issues and bringing about a just,
  27   speedy and inexpensive determination of the matter.” Local Rule 16.1(f)(5)(a) and
  28   (c). As such, the County will request a briefing schedule to address those issues; in
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   1   particular, the viability of plaintiffs’ claims against the County given that there are
   2   no longer any surviving constitutional claims against any of the individual
   3   defendants employed by the County.”
   4   Fourth Claim – Section 1983 Failure to Train on Suicide Prevention Against
   5   the County– Brought by Michelle Moriarty as Successor in Interest to Mr.
   6   Moriarty:
   7   Elements:
   8         1.     The failure to act by the County’s employees deprived Mr. Moriarty of
   9                his particular rights under the United States Constitution as explained
  10                in later instructions;
  11         2.     The County’s employees acted under the color of state law;
  12         3.     The County’s training policies were not adequate to train its jail staff
  13                to handle the usual and recurring situations with which they must deal;
  14         4.     The County was deliberately indifferent to the known or obvious
  15                consequences of its failure to train its jail staff adequately; and
  16         5.     The failure of the County to provide adequate training caused the
  17                depravation of Mr. Moriarty’s rights by the County’s employees; that
  18                is, the County’s failure to train is so closely related to the depravation
  19                of Mr. Moriarty’s rights as to be the moving force that caused the
  20                ultimate injury.
  21   See Ninth Circuit Manuel of Model Civil Jury Instructions, Civil Rights Actions
  22   section 9.8 (2017).
  23   Damages:
  24         On behalf of Mr. Moriarty, his Successor in Interest is entitled to recover
  25   compensatory damages. Compensatory damages in this case includes lost wages,
  26   loss of future job opportunities, physical pain and suffering, and emotional pain and
  27   suffering. Under federal law, Mr. Moriarty’s Successor in Interest is also entitled to
  28   pre-death pain and suffering as well as loss of life damages. Chaudhry v. City of
                                                  13
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   1   Los Angeles, 751 F.3d 1096, 1003 (9th Cir. 2014). Further, upon prevailing at trial,
   2   the Civil Rights Attorney’s Fee Award Act of 1976, 42 U.S.C. section 1988, allows
   3   a court, in its discretion, to award reasonable attorneys’ fees as part of costs to a
   4   prevailing party in federal civil rights lawsuits, including cases brought under 42
   5   U.S.C. section 1983.
   6   Defendant’s Defenses:
   7         The COUNTY and/or Defendant Weidenthaler intend to raise the following
   8   affirmative defenses:
   9         1.     Qualified immunity;
  10         2.     Contributory fault of other parties and non-parties;
  11         3.     Comparative fault of decedent, Heron Moriarty;
  12         4.     Immunity from liability for any state law wrongful death or negligence
  13   claims pursuant to Government Code section 855.6
  14         5.     Immunity from liability for any state law wrongful death or negligence
  15   claims
  16         6.     Immunity from liability for any state law wrongful death or negligence
  17   claims pursuant to Government Code section 820.2
  18         7.     Immunity from liability for any state law wrongful death or negligence
  19   claims pursuant to Government Code section 845.6
  20         8.     Immunity from liability for any state law wrongful death or negligence
  21   claims pursuant to Government Code section 856.4 pursuant to Government Code
  22   section 855.8
  23         9.     “Pursuant to Rule 16 of the Federal Rules of Civil Procedure, at any
  24   pretrial conference, the court may take the appropriate action to eliminate frivolous
  25   claims or defenses and otherwise consider the appropriateness of summary
  26   adjudication under Rule 56. Fed. R. Civ. P. 16(c)(2)(A), (E), (L), (N) and (P).
  27   Applicable local rules also authorize the court to consider all matters referred to in
  28   Rule 16 and other “matters which may be presented concerning parties, process,
                                                  14
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   1   pleading or proof with a view to simplifying issues and bringing about a just,
   2   speedy and inexpensive determination of the matter.” Local Rule 16.1(f)(5)(a) and
   3   (c). As such, the County will request a briefing schedule to address those issues; in
   4   particular, the viability of plaintiffs’ claims against the County given that there are
   5   no longer any surviving constitutional claims against any of the individual
   6   defendants employed by the County.”
   7   Fifth Claim – Depravation of Familial Relationship Against Defendant
   8   Lissaur– Brought by Michelle Moriarty as Successor in Interest to Mr. Moriarty:
   9         “Parents and children may assert Fourteenth Amendment substantive due
  10   process claims if they are deprived of their liberty interest in the companionship and
  11   society of their child or parent through official conduct. Only official conduct that
  12   shocks the conscience is cognizable as a due process violation. Just as the
  13   deliberate indifference of prison officials to the medical needs of prisoners may
  14   support Eighth Amendment liability, such indifference may also rise to the
  15   conscience-shocking level required for a substantive due process violation. A
  16   prison official's deliberately indifferent conduct will generally shock the conscience
  17   so as long as the prison official had time to deliberate before acting or failing to act
  18   in a deliberately indifferent manner.” Lemire v. Cal. Dep't of Corr. & Rehab., 726
  19   F.3d 1062, 1068 (9th Cir. 2013)
  20   See Ninth Circuit Manuel of Model Civil Jury Instructions, Civil Rights Actions
  21   section 9.32 (2019).
  22   Damages:
  23         On behalf of Mr. Moriarty, his Successor in Interest is entitled to recover
  24   compensatory and punitive damages. Compensatory damages in this case includes
  25   lost wages, physical pain and suffering, and emotional pain and suffering. Under
  26   federal law, Mr. Moriarty’s Successor in Interest is also entitled to pre-death pain
  27   and suffering as well as loss of life damages. Chaudhry v. City of Los Angeles, 751
  28   F.3d 1096, 1003 (9th Cir. 2014). Further, upon prevailing at trial, the Civil Rights
                                                  15
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   1   Attorney’s Fee Award Act of 1976, 42 U.S.C. section 1988, allows a court, in its
   2   discretion, to award reasonable attorneys’ fees as part of costs to a prevailing party
   3   in federal civil rights lawsuits, including cases brought under 42 U.S.C. section
   4   1983.
   5   Defendant’s Defenses:
   6           Defendant Lissaur did not make an intentional decision regarding the denial
   7   of needed medical care. The Court’s prior orders (Dkt. Nos. 87 and 123) are the
   8   law of the case with binding effect on the remaining triable issues and Plaintiffs
   9   cannot sustain their burden to satisfy any of the elements of this claim. Moreover,
  10   Plaintiffs cannot demonstrate any actions of Defendant Lissaur proximately caused
  11   Moriarty’s death as there were superseding intervening causes.
  12   Sixth Claim – Negligence Against Defendant Weidenthaler, Daniels, Lissaur
  13   and CPMG – Brought by Michelle Moriarty as Successor in Interest to Mr.
  14   Moriarty:
  15   Elements:
  16           1.    That Defendants were negligent;
  17           2.    That Mr. Moriarty was harmed; and
  18           3.    That Defendants’ negligence was a substantial factor in causing Mr.
  19                 Moriarty’s harm.
  20   See CACI No. 400. (2017)
  21   Damages:
  22           On behalf of Mr. Moriarty, his Successor in Interest is entitled to recover the
  23   financial loss or damage that the decedent sustained or incurred before death, as
  24   well as punitive damages. (§ 377.34)
  25   Defendants’ Defenses:
  26           Defendants Weidenthaler, Dr. Lissaur and Daniels did not owe any legal
  27   duties to plaintiffs Michelle, Alexandria, Elijah, and Eternity Moriarty under State
  28   Law. Said Plaintiffs do not have any standing to recover general, compensatory or
                                                  16
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   1   punitive damages for alleged harm caused to them. The Sixth Cause of Action is
   2   plead as a claim for “ordinary negligence” under the survival statute. (California
   3   Code of Civil Procedure, §377.30 et seq). The damages recoverable by the estate
   4   are limited to “the loss or damage that the decedent sustained or incurred before
   5   death, including any penalties or punitive or exemplary damages that the decedent
   6   would have been entitled to recover had the decedent lived, and do not include
   7   damages for pain, suffering, or disfigurement.” (id. at § 377.34)
   8         A claim for punitive damages is not available in claims for ordinary
   9   negligence under California Civil Code, § 3294.
  10         Defendants Weidenthaler, Dr. Lissaur and Daniels complied with the
  11   applicable standard of care and their conduct was not a legal or proximate cause of
  12   the death of Heron Moriarty.
  13         The Court’s order partially granting Weidenthaler’s and Daniels’ Motion for
  14   Summary Judgment (Doc. 123) is the law of the case with binding effect on the
  15   remaining triable issues. The court’s finding, among others, that Weidenthaler and
  16   Daniels “reasonably… believed” that they did not ignore a serious risk of suicide
  17   (pg. 15) is binding upon the trier of fact.
  18         Plaintiffs’ claims of negligence against Defendants Daniels and Dr. Lissaur
  19   involve allegations solely relating to their provision of professional services as a
  20   Nurse Practitioner and Psychiatrist, respectively, and are therefore encompassed in
  21   the Seventh cause of action for Medical Negligence and subject to the defenses and
  22   limitations of a Medical Negligence claim. California Civil Code § 3333.1, 29 CFR
  23   § 825.125 (b) (2). It is also therefor barred by the Statute of limitations (California
  24   Code of Civil Procedure § 340.5) as the lawsuit against Daniels and Dr. Lissaur
  25   was filed more than one year after Mr. Moriarty’s death.
  26         1.     Qualified immunity;
  27         2.     Contributory fault of other parties and non-parties;
  28         3.     Comparative fault of decedent, Heron Moriarty;
                                                     17
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   1         4.     Immunity from liability for any state law wrongful death or negligence
   2   claims pursuant to Government Code section 855.6
   3         5.     Immunity from liability for any state law wrongful death or negligence
   4   claims.
   5         6.     Immunity from liability for any state law wrongful death or negligence
   6   claims pursuant to Government Code section 820.2
   7         7.     Immunity from liability for any state law wrongful death or negligence
   8   claims pursuant to Government Code section 845.6
   9         8.     Immunity from liability for any state law wrongful death or negligence
  10   claims pursuant to Government Code section 856.4 pursuant to Government Code
  11   section 855.8
  12         9.     Immunity from liability for any state law wrongful death or negligence
  13   claims pursuant to Government Code section 844.6.
  14         10.    Immunity from liability for any state law wrongful death or negligence
  15   claims pursuant to Government Code section 855.8.
  16         Defendants Weidenthaler, Dr. Lissaur and Daniels did not owe any legal
  17   duties to plaintiffs Michelle, Alexandria, Elijah, and Eternity Moriarty under State
  18   Law. Said Plaintiffs do not have any standing to recover general, compensatory or
  19   punitive damages for alleged harm caused to them. The Sixth Cause of Action is
  20   plead as a claim for “ordinary negligence” under the survival statute. (California
  21   Code of Civil Procedure, §377.30 et seq).
  22         The damages recoverable by the estate are limited to “the loss or damage that
  23   the decedent sustained or incurred before death, including any penalties or punitive
  24   or exemplary damages that the decedent would have been entitled to recover had
  25   the decedent lived, and do not include damages for pain, suffering, or
  26   disfigurement.” (id. at § 377.34)
  27         A claim for punitive damages is not available in claims for ordinary
  28   negligence under California Civil Code, § 3294.
                                                18
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   1         Defendants Weidenthaler, Dr. Lissaur and Daniels complied with the
   2   applicable standard of care and their conduct was not a legal or proximate cause of
   3   the death of Heron Moriarty.
   4         The Court’s order partially granting Weidenthaler’s and Daniels’ Motion for
   5   Summary Judgment (Doc. 123) is the law of the case with binding effect on the
   6   remaining triable issues. The court’s finding, among others, that Weidenthaler and
   7   Daniels “reasonably… believed” that they did not ignore a serious risk of suicide
   8   (pg. 15) is binding upon the trier of fact.
   9         Chaudry vs. City of Los Angeles, 751 F3d 1096 (9th Cir. 2014) does not
  10   apply to claims arising under state law.
  11   Seventh Claim – Medical Malpractice Against Defendants Daniels, Lissaur,
  12   and CPMG – Brought by Michelle Moriarty as Successor in Interest to Mr.
  13   Moriarty:
  14   Elements:
  15         1.     That Defendants were medically negligent;
  16         2.     That Mr. Moriarty was harmed; and
  17         3.     That Defendants’ medical negligence was a substantial factor in
  18                causing Mr. Moriarty’s harm.
  19   See CACI No. 400. (2017); See CACI No. 500. (2017)
  20   Damages:
  21         Pursuant to Code of Civil Procedure section 377.30, on behalf of Mr.
  22   Moriarty, his Successor in Interest is entitled to recover lost wages, lost earning
  23   capacity, pain and suffering, loss of life enjoyment, and punitive damages.
  24   Defendants’ Defenses:
  25         Defendant Daniels and Dr. Lissaur did not owe any legal duties to plaintiffs
  26   Michelle, Alexandria, Elijah, and Eternity Moriarty under State Law.                  Said
  27   plaintiffs do not have any standing to recover general, compensatory or punitive
  28   damages for alleged harm caused to them. The Seventh Cause of Action is plead as
                                                     19
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   1   a claim for “medical negligence” under the survival statute. (California Code of
   2   Civil Procedure, §377.30 et seq). The damages recoverable by the estate are
   3   limited to “the loss or damage that the decedent sustained or incurred before death,
   4   including any penalties or punitive or exemplary damages that the decedent would
   5   have been entitled to recover had the decedent lived, and do not include damages
   6   for pain, suffering, or disfigurement.” (id. at § 377.34)
   7         A claim for punitive damages is not available in claims for medical
   8   negligence under California Civil Code, §3294 and California Code of Civil
   9   Procedure §377.42.
  10         Defendants Daniels and Dr. Lissaur complied with the applicable standard of
  11   care and their conduct was not a legal or proximate cause of the death of Heron
  12   Moriarty.
  13         Defendant Daniels and Dr. Lissuar’s responsibility or contribution to any
  14   damages award, if any, is limited by California Civil Code § 3333.2
  15         Plaintiffs’ claim for Medical Negligence is barred by California Code of Civil
  16   Procedure § 340.5 as the lawsuit against Dr. Lissuar, Daniels and/or CPMG was
  17   filed more than one year after Mr. Moriarty’s death.
  18   Eighth Claim - Wrongful Death Against Defendant Weidenthaler, Daniels,
  19   Lissaur, and CPMG- Brought By Michelle Moriarty, Individually and as Guardian
  20   Ad Litem to Eternity Moriarty, Alexandria Moriarty, Individually, and Elijah
  21   Moriarty, Individually
  22   Elements:
  23         1.     Mr. Moriarty’s death was caused by the negligent act of Defendants;
  24                and
  25         2.     Mr. Moriarty’s death caused Plaintiff’s injury.
  26   See Code of Civil Procedure section 377.60, CACI No. 3921. (2017); Quiroz v.
  27   Seventh Ave. Center, 140 Cal. App. 4th 1256, 1257 (Cal. App. 6th Dist. 2006)
  28   Damages:
                                                 20
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   1         Pursuant to Code of Civil Pros=cedure section 377.60, Plaintiffs Michelle,
   2   Alexandria, Elijah, and Eternity Moriarty are entitled to recover the financial
   3   support that Mr. Moriarty would have contributed; the loss of gifts and benefits the
   4   Family would have received, as well as burial expenses and the reasonable value of
   5   household services. The Family also seeks to recover damages based on the loss of
   6   love, companionship, comfort, care, assistance, protection, affection, society, moral
   7   support, training and guidance. Additionally, Michelle Moriarty seeks the loss of
   8   enjoyment of sexual relations.
   9   Defendants’ Defenses:
  10         Defendants Weidenthaler, Dr. Lissaur and Daniels complied with the
  11   applicable standard of care and their conduct was not a legal or proximate cause of
  12   the death of Heron Moriarty.
  13         Plaintiffs are not entitled to punitive damages under the California wrongful
  14   death statute (California Code of Civil Procedure, § 377.61). Moreover, plaintiffs
  15   do not plead entitlement to punitive damages under their cause of action for
  16   wrongful death. (FAC at paragraphs 163-167)
  17         Defendant Daniels and Dr. Lissaur’s responsibility or contribution to any
  18   damages award, if any, is limited by California Civil Code § 3333.2
  19         Plaintiffs’ claim for Wrongful Death is barred by California Code of Civil
  20   Procedure § 340.5 as the lawsuit against Dr. Lissaur, Daniels and/or CPMG was
  21   filed more than one year after Mr. Moriarty’s death.
  22         1.     Qualified immunity;
  23         2.     Contributory fault of other parties and non-parties;
  24         3.     Comparative fault of decedent, Heron Moriarty;
  25         4.     Immunity from liability for any state law wrongful death or negligence
  26   claims pursuant to Government Code section 855.6
  27         5.     Immunity from liability for any state law wrongful death or negligence
  28   claims.
                                                 21
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   1         6.     Immunity from liability for any state law wrongful death or negligence
   2   claims pursuant to Government Code section 820.2
   3         7.     Immunity from liability for any state law wrongful death or negligence
   4   claims pursuant to Government Code section 845.6
   5         8.     Immunity from liability for any state law wrongful death or negligence
   6   claims pursuant to Government Code section 856.4 pursuant to Government Code
   7   section 855.8
   8         9.     Immunity from liability for any state law wrongful death or negligence
   9   claims pursuant to Government Code section 844.6.
  10         10.    Immunity from liability for any state law wrongful death or negligence
  11   claims pursuant to Government Code section 855.8.
  12         Defendants Weidenthaler, Dr. Lissaur and Daniels complied with the
  13   applicable standard of care and their conduct was not a legal or proximate cause of
  14   the death of Heron Moriarty.
  15         Plaintiffs are not entitled to punitive damages under the California wrongful
  16   death statute (California Code of Civil Procedure, § 377.61). Moreover, plaintiffs
  17   do not plead entitlement to punitive damages under their cause of action for
  18   wrongful death. (FAC at paragraphs 163-167)
  19         The Court’s order partially granting Weidenthaler’s and Daniels’ Motion for
  20   Summary Judgment (Doc. 123) is the law of the case with binding effect on the
  21   remaining triable issues. The court’s finding, among others, that Weidenthaler and
  22   Daniels “reasonably… believed” that they did not ignore a serious risk of suicide
  23   (pg. 15) is binding upon the trier of fact.
  24         Chaudry vs. City of Los Angeles, 751 F3d 1096 (9th Cir. 2014) does not
  25   apply to claims arising under state law.
  26   ///
  27   ///
  28   ///
                                                     22
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   1                                            III.
   2                                 JOINT WITNESS LIST
   3           A.    Witnesses to be Called at Trial by both Plaintiffs and Defendants:
   4
          No.              Name             Date Called              Qualifications
   5                                         to Testify
   6                Michelle Moriarty                       Michelle Moriarty was Mr.
          1.
                                                            Moriarty’s wife and is a named
   7                                                        Plaintiff. She will testify to
   8                                                        their relationship, as well as
                                                            Mr. Moriarty’s relationship
   9                                                        with his children. She will also
  10                                                        testify generally to Mr.
                                                            Moriarty’s financial and
  11                                                        emotional support, as well as
  12                                                        his overall health. Michelle
                                                            will testify about her efforts to
  13                                                        warn that jail that Mr. Moriarty
  14                                                        was suicidal and in need of
                                                            psychiatric intervention.
  15                                                        Michelle Moriarty may provide
  16                                                        rebuttal testimony if necessary.
                    Alexandria Moriarty                     Alexandria Moriarty was Mr.
  17      2.
                                                            Moriarty’s first daughter and is
  18                                                        a named Plaintiff. She will
                                                            testify about her relationship
  19                                                        with her father, as well as Mr.
  20                                                        Moriarty’s relationship with
                                                            Elijah, Eternity, and Michelle
  21                                                        Moriarty. She will also testify
  22                                                        generally to Mr. Moriarty’s
                                                            financial and emotional
  23                                                        support, as well as his overall
  24                                                        health. Alexandria Moriarty
                                                            may provide rebuttal testimony
  25
                                                            if necessary.
  26

  27

  28
                                                 23
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   1
          No.           Name            Date Called           Qualifications
   2                                     to Testify
                 Elijah Moriarty                      Elijah Moriarty was Mr.
   3      3.
                                                      Moriarty’s son and is a named
   4                                                  Plaintiff. He will testify about
                                                      his relationship with his father,
   5
                                                      as well as Mr. Moriarty’s
   6                                                  relationship with Alexandria,
   7
                                                      Eternity, and Michelle
                                                      Moriarty. He will also testify
   8                                                  generally to Mr. Moriarty’s
   9
                                                      financial and emotional
                                                      support, as well as his overall
  10                                                  health. Elijah Moriarty may
  11
                                                      provide rebuttal testimony if
                                                      necessary.
  12                                                  Eternity Moriarty was Mr.
          4.     Eternity Moriarty
  13                                                  Moriarty’s second daughter
                                                      and is a named Plaintiff. She
  14                                                  will testify about her
  15                                                  relationship with her father, as
                                                      well as Mr. Moriarty’s
  16                                                  relationship with Alexandria,
  17                                                  Elijah, and Michelle Moriarty.
                                                      She will also testify generally
  18                                                  to Mr. Moriarty’s financial and
  19                                                  emotional support, as well as
                                                      his overall health. Alexandria
  20                                                  Moriarty may provide rebuttal
  21                                                  testimony if necessary.
                 Chris Larkin                         Mr. Larkin is expected to
  22      5.
                                                      testify about his business
  23                                                  relationship with Mr. Moriarty.
                                                      He is expected to provide some
  24                                                  information regarding Mr.
  25                                                  Moriarty’s financial condition
                                                      and earning capacity. He will
  26                                                  also testify regarding Mr.
  27                                                  Moriarty’s behavior prior to his
                                                      arrest.
  28
                                           24
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   1
          No.           Name            Date Called           Qualifications
   2                                     to Testify
                 Ralph Lissaur, M.D.                  Dr. Lissaur is a Defendant in
   3      6.
                                                      this case. He is expected to
   4                                                  testify regarding his medical
                                                      background, his training
   5
                                                      regarding suicide prevention
   6                                                  and is outlook on suicide
   7
                                                      prevention. Dr. Lissaur is also
                                                      expected to testify about his
   8                                                  care and treatment of Mr.
   9
                                                      Moriarty, as well as his
                                                      understanding of relevant
  10                                                  county policies.
  11             Earl Goldstein                       Dr. Goldstein will testify
          7.
                                                      regarding the MDG meetings,
  12                                                  in general and specific to Mr.
  13                                                  Moriarty. He will testify
                                                      regarding his information about
  14                                                  Mr. Moriarty. He will testify
  15                                                  regarding his interactions with
                                                      PNP Daniels and other MDG
  16                                                  members with regards to Mr.
  17                                                  Moriarty. He will testify
                                                      regarding County of San Diego
  18                                                  policies and procedures,
  19                                                  including his expectation that
                                                      the recommendation of a
  20                                                  psychiatric provider would be
  21                                                  followed.
                 Amanda Daniels                       Amanda Daniels is a Defendant
  22      8.
                                                      in this case. Psychiatric Nurse
  23                                                  Practitioner Daniels is expected
                                                      to testify regarding her care
  24                                                  and treatment of Mr. Moriarty,
  25                                                  including her recommendation
                                                      and involvement in the Multi-
  26                                                  Disciplinary Group meeting
  27                                                  and interaction with others
                                                      involved in his care and
  28
                                           25
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   1
          No.           Name            Date Called           Qualifications
   2                                     to Testify
                                                      housing. She is further
   3
                                                      expected to testify regarding
   4                                                  the County Policies and
                                                      Procedures applicable to her
   5
                                                      and her compliance with the
   6                                                  foregoing. She will testify
   7
                                                      regarding the training provided
                                                      by CPMG and the County of
   8                                                  San Diego relevant to her
   9
                                                      interactions with Mr. Moriarty.
                                                      She will also testify regarding
  10                                                  appropriate placement of
  11
                                                      inmates who meet 5150 criteria
                                                      based on grave disability and
  12                                                  homicidal ideations.
  13             Lois Guillory                        Deputy Guillory is expected to
          9.
                                                      testify regarding her
  14                                                  observations and interaction
  15                                                  with Mr. Moriarty. She is will
                                                      testify regarding her
  16                                                  interactions with PNP Daniels
  17                                                  and Dr. Lissaur as it relates to
                                                      Mr. Moriarty. She will testify
  18                                                  regarding the MDG meeting.
  19                                                  She will testify regarding her
                                                      role as a psychiatric liaison
  20                                                  deputy and the County of San
  21                                                  Diego policies and procedures.
                 Dale Weidenthaler                    Dale Weidenthaler is a
  22      10.
                                                      Defendant in this case.
  23                                                  Defendant Weidenthaler will
                                                      testify regarding the scope of
  24                                                  his authority related to housing
  25                                                  and recommendations from
                                                      psychiatric providers. He will
  26                                                  testify regarding the
  27                                                  information he knew relevant
                                                      to Mr. Moriarty, including his
  28
                                           26
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   1
          No.               Name              Date Called             Qualifications
   2                                           to Testify
                                                              interactions and observations
   3
                                                              with Mr. Moriarty and others.
   4

   5            B.    Witnesses to be Called at Trial by Plaintiffs
   6
          No.               Name              Date Called             Qualifications
   7                                           to Testify
                     Kevin McNeeley                           Lieutenant McNeely is
   8      11.
                                                              expected to testify regarding
   9                                                          his duties as watch
                                                              commander, including
  10
                                                              involvement in housing
  11                                                          decisions and the MDG
                                                              meeting. He will also testify
  12
                                                              regarding his knowledge of and
  13                                                          involvement with Mr.
                                                              Moriarty. He will testify
  14
                                                              regarding County of San Diego
  15                                                          policies and procedures.
                     Arnold Fajayan                           Fajayan is expected to testify
  16      12.
                                                              regarding Michelle Moriarty’s
  17                                                          efforts to contact the jail, the
                                                              information he learned about
  18
                                                              Mr. Moriarty, and the
  19                                                          information that what was
                                                              discussed at the MDG meeting.
  20
                                                              He is expected to testify
  21                                                          regarding the chain of
                                                              command and housing
  22
                                                              recommendations made by
  23                                                          nursing, including psychiatric
  24
                                                              providers.
                     Alfred Joshua                            Dr. Joshua is expected to
          13.
  25                                                          testify regarding the review of
  26
                                                              Mr. Moriarty’s suicide. He is
                                                              also expected to testify about
  27                                                          the history of in-custody
  28                                                          suicides, the existing and
                                                  27
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   1
          No.           Name            Date Called           Qualifications
   2                                     to Testify
                                                      amended San Diego County
   3
                                                      policies and procedures; the
   4                                                  strained relationship between
                                                      the county and CPMG; the
   5
                                                      communications and
   6                                                  expectation of CPMG; as well
   7
                                                      as previous preventable
                                                      suicides and communications
   8                                                  thereon.
   9             Rule 60 re Suicides                  Plaintiffs will subpoena the
          14.
                                                      person(s) most knowledgeable
  10                                                  about previous preventable
  11                                                  suicides, the county’s previous
                                                      suicide prevention policies and
  12                                                  training, the need and
  13                                                  implementation of a change in
                                                      policy, and the impact of public
  14                                                  calls for an improved suicide
  15                                                  prevention program.

  16

  17
                 Rule 60 re                           Plaintiffs will subpoena the
  18      15.
                                                      person(s) necessary to
  19
                 Foundation and                       authenticate and provide any
                 Authentication                       necessary foundation for
  20                                                  documents generated by county
  21                                                  employees/agents.
                 Steve Mannis                         Dr. Mannis is expected to
  22      16.
                                                      testify regarding the role of
  23                                                  psychiatric practitioners in the
                                                      jail setting including the MDG
  24                                                  meeting and PSU admission.
  25                                                  He will testify regarding
                                                      CPMG’s relationship with the
  26                                                  County of San Diego, and the
  27                                                  expectations thereof. He will
                                                      further testify regarding the
  28
                                           28
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   1
          No.               Name              Date Called             Qualifications
   2                                           to Testify
                                                              review of Mr. Moriarty’s
   3
                                                              suicide, and the eventual
   4                                                          termination of CPMG’s
                                                              contract with the county.
   5

   6
                C.    Expert Witnesses to be Called at Trial by Plaintiffs

   7
          No.               Name              Date Called             Qualifications
   8                                           to Testify
                     Richard Lichten                          Mr. Lichten is Plaintiffs’ police
   9      17.
                                                              procedures expert. He will
  10                                                          testify in accordance with the
                                                              opinions set forth in his Rule
  11                                                          26 reports. He will also provide
  12                                                          necessary rebuttal testimony.
                     Jeffrey Metzner                          Dr. Metzer is Plaintiffs’
  13      18.
                                                              correctional-psychiatry expert.
  14                                                          He will testify in accordance
                                                              with the opinions set forth in
  15                                                          his Rule 26 reports. He will
  16                                                          also provide necessary rebuttal
                                                              testimony.
  17                                                          Mr. McMunn in Plaintiffs’
          19.        Michael McMunn
  18                                                          correctional-psychiatric-
                                                              nursing expert. He will testify
  19                                                          in accordance with the opinions
  20                                                          set forth in his Rule 26 reports.
                                                              He will also provide necessary
  21                                                          rebuttal testimony.
  22                 Kaycea Campbell                          Ms. Campbell is Plaintiffs’
          20.
                                                              economist. She will testify in
  23                                                          accordance with the opinions
  24                                                          set forth in her Rule 26 reports.
                                                              She will also provide necessary
  25
                                                              rebuttal testimony.
  26                 Robert Canning                           Dr. Canning is Plaintiffs’
          21.
                                                              correctional-suicide expert. He
  27
                                                              will testify in accordance with
  28                                                          the opinions set forth in his
                                                  29
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   1                                                       Rule 26 reports. He will also
   2                                                       provide necessary rebuttal
                                                           testimony.
   3                                                       Dr. Mena is expect to testify
          22.        Othon Mena
   4                                                       regarding his investigation,
                                                           autopsy, and opinions thereto
   5                                                       related to Mr. Moriarty’s death.
   6                                                       Dr. Mena is also expected to
                                                           testify regarding the pain and
   7                                                       suffering associated with
   8                                                       asphyxiation.
   9            D.    Reserved Witnesses by Plaintiffs
  10
          No.               Name             Date Called           Qualifications
  11                                          to Testify
                     Ruby Banks                            Lieutenant Banks is expected
  12      23.
                                                           to testify regarding her duties
  13                                                       as watch commander, in
                                                           particular to the night of Mr.
  14
                                                           Moriarty’s arrest. She will also
  15                                                       testify regarding her
                                                           knowledge of and involvement
  16
                                                           with Mr. Moriarty and others.
  17                                                       She will also testify regarding
                                                           County of San Diego policies
  18
                                                           and procedures.
  19
                     Nicholas Badre                        Dr. Badre is expected to testify
          24.
                                                           regarding CPMG, including
  20
                                                           training for providers. He will
  21                                                       testify regarding the
  22
                                                           relationship between the
                                                           County of San Diego and
  23                                                       CPMG. He will testify
  24
                                                           regarding his communications
                                                           with Steve Mannis, Dr. Joshua
  25                                                       and others. He will also testify
  26
                                                           regarding the County of San
                                                           Diego Policies and procedures,
  27                                                       including admission to the
  28                                                       PSU.
                                                 30
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   1                                                  Deputy Escobar was an
          25.    Miles Lelevier
   2                                                  arresting deputy and is
                                                      expected to testify regarding
   3                                                  the events and circumstances
   4                                                  related to his interaction with
                                                      Mr. Moriarty, at the Rancho
   5                                                  San Diego Police Station, San
   6                                                  Diego Central Jail and Vista
                                                      Detention Facility. He is also
   7                                                  expected to testify regarding
   8                                                  relevant policies and
                                                      procedures.
   9                                                  Aliso Moriarty was Mr.
          26.    Aliso Moriarty
  10                                                  Moriarty’s brother. He may
                                                      testify regarding the
  11                                                  relationship between Mr.
  12                                                  Moriarty and his wife and
                                                      children.
  13
                 Mesquite Moriarty                    Aliso Moriarty was Mr.
          27.
  14                                                  Moriarty’s brother. He may
                                                      testify regarding the
  15
                                                      relationship between Mr.
  16                                                  Moriarty and his wife and
                                                      children.
  17
                 Barbara Lee                          Ms. Lee is expected to testify
          28.
  18                                                  regarding the review of Mr.
                                                      Moriarty’s suicide, as well as
  19
                                                      San Diego County policies and
  20                                                  procedures. She will testify
                                                      regarding the County of San
  21
                                                      Diego’s relationship with
  22                                                  CPMG, including the training
                                                      of CPMG providers, and the
  23
                                                      expectations thereof. She will
  24                                                  also testify regarding the
                                                      efforts to address the county’s
  25
                                                      inadequate suicide prevention
  26                                                  program.
  27

  28
                                           31
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   1                                                  Dr. Rao is expected to testify
          29.    Sanjay Rao
   2                                                  regarding CPMG, including
                                                      training for providers. He will
   3                                                  testify regarding the
   4                                                  relationship between the
                                                      County of San Diego and
   5                                                  CPMG, as well as the
   6                                                  conversations with others
                                                      regarding the relationship. He
   7                                                  will also testify regarding
   8                                                  County of San Diego Policies
                                                      and procedures, and changes
   9                                                  thereto.
  10
                 Lizzie Womack                        Ms. Womack is expected to
  11      36.
                                                      testify regarding the review of
  12                                                  Mr. Moriarty’s suicide, as well
                                                      as San Diego County policies
  13
                                                      and procedures. She will
  14                                                  testify regarding the County of
                                                      San Diego’s relationship with
  15
                                                      CPMG, including the training
  16                                                  of CPMG providers, and the
                                                      expectations thereof. She will
  17
                                                      also testify regarding the
  18                                                  efforts to address the county’s
                                                      inadequate suicide prevention
  19
                                                      program.
  20             Luis Escobar                         Deputy Escobar was an
          30.
                                                      arresting deputy and is
  21             (pending further                     expected to testify regarding
  22             stipulations)                        the events and circumstances
                                                      related to his interaction with
  23
                                                      Mr. Moriarty, at the Rancho
  24                                                  San Diego Police Station, San
                                                      Diego Central Jail and Vista
  25
                                                      Detention Facility. He is also
  26                                                  expected to testify regarding
                                                      relevant policies and
  27
                                                      procedures.
  28
                                           32
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   1                                                  Lieutenant Snyder is expected
          31.    Stanley Snyder
   2                                                  to testify regarding the events
                 (pending further                     and circumstances surrounding
   3                                                  Mr. Moriarty’s suicidal
                 stipulations)
   4                                                  admission at Central jail. He
                                                      will also testify to his efforts to
   5                                                  notify Vista Detention Facility,
   6                                                  and the transfer from Central
                                                      Jail to Vista Detention Facility.
   7                                                  Lieutenant Snyder is also
   8                                                  expected to testify about the
                                                      impact of the County of San
   9                                                  Diego’s Pilot Program had on
  10                                                  Mr. Moriarty’s treatment and
                                                      housing.
  11

  12

  13
                 Sean Dwyer (pending                  Deputy Dwyer is expected to
          32.
  14                                                  testify regarding his
                 further stipulations)                involvement with Mr.
  15
                                                      Moriarty’s detention, as well as
  16                                                  his interactions with others
                                                      regarding Mr. Moriarty. He is
  17
                                                      further expected to testify
  18                                                  regarding the County of San
                                                      Diego policies and procedures.
  19
                 Jamie Preechar                       Nurse Preechar is expected to
          33.
  20                                                  testify regarding her care and
                 (pending further                     treatment of Mr. Moriarty and
  21
                 stipulations)                        any interactions with others
  22                                                  regarding Mr. Moriarty.
                 Duane Johnson –                      Deputy Johnson is expected to
  23      34.
                                                      testify regarding his role as a
  24             (pending further                     psychiatric liaison deputy. He
                 stipulations)                        will testify regarding his text
  25
                                                      messages with PNP Daniels.
  26                                                  He will testify regarding
  27
                                                      County of San Diego Policies
                                                      and Procedures, and previous
  28
                                           33
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   1                                                        preventable suicides.
   2                 Judi Lefter (pending                   Judi Lefter was the PERT
          35.
                                                            clinician that evaluated Mr.
   3                 further stipulations)                  Moriarty on May 1, 2016. She
   4                                                        is expected to testify about her
                                                            evaluation and findings.
   5
                E.    Reserved Expert/Percipient Witnesses by Plaintiffs
   6

   7      No.                Name            Date Called            Qualifications
                                              to Testify
   8
                     Other Treating                         Other Treating Physicians
          36.
   9                                                        needed for rebuttal purposes.
                     Physicians
  10
                F.    Witnesses to be Called at Trial by CPMG and Daniels
  11

  12      No.                Name            Date Called            Qualifications
                                              to Testify
  13
                     Mark Kalish, M.D.                      Dr. Kalish is expected to testify
          37.
  14                                                        to the matters in his reports.
                                                            Dr. Kalish will testify that PNP
  15
                                                            Daniels complied with the
  16                                                        standard of care and did not
                                                            cause or contributed to
  17
                                                            Plaintiffs’ claimed injuries or
  18                                                        damages. Dr. Kalish will
                                                            testify that PNP Daniels
  19
                                                            recommendations and
  20                                                        advocacy for Mr. Moriarty met
  21
                                                            the standard of care.

  22

  23                 Dominick Addario,                      Dr. Addario is expected to
          38.
                                                            testify to the matters in his
  24                 M.D                                    reports as well as regarding the
  25                                                        results of his IME’s. Dr.
                                                            Addario will testify regarding
  26                                                        Plaintiffs’ damages.
  27                 Steven Elig, M.D.                      Dr. Elig is expected to testify
          39.
                                                            as to the matters in his reports
  28
                                                 34
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   1                                                      and well as regarding the
   2                                                      results of his IME. Dr. Elig
                                                          will testify regarding Plaintiff’s
   3                                                      damages.
   4                 Robert Taylor,                       Mr. Taylor is expected to
          40.
                                                          testify regarding the matters in
   5                 CPA/ABV                              his reports. He will testify
   6                                                      regarding Plaintiffs’ economic
                                                          damages.
   7

   8            G.    Reserved Witnesses by CPMG and Daniels
   9
          No.               Name            Date Called            Qualifications
  10                                         to Testify
  11                 Yoko Larkin                          Mrs. Larkin is expected to
          41.
                                                          testify regarding Mr.
  12                                                      Moriarty’s behavior prior to his
  13                                                      arrest.
                     Deputy Lois Guillory                 Deputy Guillory is expected to
  14      42.
                                                          testify regarding her
  15                                                      observations and interaction
                                                          with Mr. Moriarty. She is will
  16                                                      testify regarding her
  17                                                      interactions with PNP Daniels.
                                                          She will testify regarding the
  18                                                      MDG meeting. She will testify
  19                                                      regarding her role as a
                                                          psychiatric liaison deputy and
  20                                                      the County of San Diego
  21                                                      policies and procedures.
  22                                                      Mr. Fajayan is expected to
          43.        Arnold Fajayan
  23                                                      testify regarding the
                                                          information he learned about
  24                                                      Mr. Moriarty including what
  25                                                      was discussed at the MDG
                                                          meeting. He is expected to
  26
                                                          testify regarding the chain of
  27                                                      command and housing
                                                          recommendations made by
  28
                                               35
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   1                                                  nursing, including psychiatric
   2                                                  providers.
                 Christopher Larkin                   Mr. Larkin is expected to
   3      44.
                                                      testify about his business
   4                                                  relationship with Mr. Moriarty.
                                                      He will provide some
   5                                                  information regarding Mr.
   6                                                  Moriarty’s financial condition.
                                                      He will also testify regarding
   7                                                  Mr. Moriarty’s behavior prior
   8                                                  to his arrest.
                 Sergeant Dale                        Sergeant Weidenthaler will
   9      45.
                                                      testify regarding the scope of
  10             Weidenthaler                         his authority related to housing
                                                      and recommendations from
  11
                                                      psychiatric providers. He will
  12                                                  testify regarding information
                                                      relevant to Mr. Moriarty,
  13
                                                      including his interactions and
  14                                                  observations with Mr. Moriarty
                                                      and others.
  15
                 Deputy Duane                         Deputy Johnson is expected to
          46.
  16                                                  testify regarding his role as a
                 Johnson                              psychiatric liaison deputy. He
  17
                                                      will testify regarding his text
  18                                                  messages with PNP Daniels.
                                                      He will testify regarding
  19
                                                      County of San Diego Policies
  20                                                  and Procedures.
  21

  22             Earl Goldstein, M.D                  Dr. Goldstein will testify
          47.
                                                      regarding the MDG meetings,
  23                                                  in general and specific to Mr.
  24                                                  Moriarty. He will testify
                                                      regarding his information about
  25                                                  Mr. Moriarty. He will testify
  26                                                  regarding his interactions with
                                                      PNP Daniels regarding Mr.
  27                                                  Moriarty. He will testify
  28                                                  regarding County of San Diego
                                           36
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   1                                                  policies and procedures,
   2                                                  including his expectation that
                                                      the recommendation of a
   3                                                  psychiatric provider would be
   4                                                  followed.
                 Jamie Preechar, BSN                  Nurse Preechar is expected to
   5      48.
                                                      testify regarding her care and
   6                                                  treatment of Mr. Moriarty and
                                                      any interactions with others
   7                                                  regarding Mr. Moriarty
   8             Lieutenant Kevin                     Lieutenant McNeely is
          49.
                                                      expected to testify regarding
   9             McNeely                              his duties as watch
  10                                                  commander, including
                                                      involvement in housing
  11
                                                      decisions and the MDG
  12                                                  meeting. He will also testify
                                                      regarding his knowledge of and
  13
                                                      involvement with Mr.
  14                                                  Moriarty. He will testify
                                                      regarding County of San Diego
  15
                                                      policies and procedures.
  16             Lieutenant Stanley                   Lieutenant Snyder is expected
          50.
                                                      to testify regarding the County
  17             Snyder                               of San Diego Pilot Program.
  18                                                  He will also testify regarding
                                                      the events and circumstances
  19
                                                      surrounding Mr. Moriarty
  20                                                  being transferred from San
                                                      Diego Central Jail to Vista
  21
                                                      Detention Facility.
  22

  23

  24

  25

  26

  27

  28
                                           37
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   1                                                  Deputy Escobar is expected to
          51.    Deputy Luis Escobar
   2                                                  testify regarding the events and
                                                      circumstances related to his
   3                                                  interaction with Mr. Moriarty,
   4                                                  at the Rancho San Diego Police
                                                      Station, San Diego Central Jail
   5                                                  and Vista Detention Facility.
   6                                                  He is also expected to testify
                                                      regarding relevant policies and
   7                                                  procedures.
   8             Othon Mena, M.D                      Dr. Mena is expected to testify
          52.
                                                      regarding his investigation,
   9                                                  autopsy, and opinions thereto
  10                                                  related to Mr. Moriarty’s death.
                 Ralph Lissaur, M.D                   Dr. Lissaur is expected to
  11      53.
                                                      testify regarding his care and
  12                                                  treatment of Mr. Moriarty.
                 Lieutenant Ruby                      Lieutenant Banks is expected
  13      54.
                                                      to testify regarding her duties
  14             Banks                                as watch commander. Se will
                                                      also testify regarding her
  15
                                                      knowledge of and involvement
  16                                                  with Mr. Moriarty. She will
                                                      testify regarding County of San
  17
                                                      Diego policies and procedures.
  18
                 Deputy Sean Dwyer                    Deputy Dwyer is expected to
          55.
                                                      testify regarding his
  19
                                                      involvement with Mr.
  20                                                  Moriarty’s detention. He is
                                                      further expected to testify
  21
                                                      regarding the County of San
  22                                                  Diego policies and procedures.
  23             Alfred Joshua, M.D                   Dr. Joshua is expected to
          56.
                                                      testify regarding San Diego
  24                                                  County policies and
  25
                                                      procedures.

  26

  27

  28
                                           38
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   1                                                  Ms. Lee is expected to testify
          57.    Barbara Lee
   2                                                  regarding San Diego County
                                                      policies and procedures. She
   3                                                  will testify regarding the
   4                                                  County of San Diego’s
                                                      relationship with CPMG,
   5                                                  including the training of
   6                                                  CPMG providers.
                 Sanjay Rao, M.D.                     Dr. Rao is expected to testify
   7      58.
                                                      regarding CPMG, including
   8                                                  training for providers. He will
                                                      testify regarding the
   9                                                  relationship between the
  10                                                  County of San Diego and
                                                      CPMG. He will testify
  11                                                  regarding County of San Diego
  12                                                  Policies and procedures,
                                                      including admission to the
  13
                                                      PSU.
  14             Nicholas Badre, M.D                  Dr. Rao is expected to testify
          59.
                                                      regarding CPMG, including
  15
                                                      training for providers. He will
  16                                                  testify regarding the
                                                      relationship between the
  17
                                                      County of San Diego and
  18                                                  CPMG. He will testify
                                                      regarding County of San Diego
  19
                                                      Policies and procedures,
  20                                                  including admission to the
                                                      PSU.
  21

  22   ///
  23   ///
  24   ///
  25   ///
  26   ///
  27   ///
  28
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   1            H. Witnesses to be Called at Trial by County of San Diego
   2
          No.               Name             Date Called            Qualifications
   3                                          to Testify
                    Dominick Addario                        Dr. Addario is expected to
   4      60.
                                                            testify to the matters set forth
   5                                                        in the County’s expert witness
                                                            disclosure, including but not
   6
                                                            limited to his reports as well as
   7                                                        regarding the results of his
   8
                                                            IME’s. Dr. Addario will testify
                                                            regarding Plaintiffs’ damages
   9                                                        and Heron Moriarty’s
  10
                                                            behavioral history.

  11
                    Ruby Banks                              Ms. Banks is expected to
          61.
  12                                                        testify regarding her
                                                            knowledge of and/or
  13                                                        involvement with Heron
  14                                                        Moriarty or other persons. Ms.
                                                            Banks may express opinions
  15                                                        related to her area of expertise
  16                                                        as an employee of the San
                                                            Diego Sheriff’s Department
  17                                                        and/or her conduct related to
  18                                                        plaintiffs’ allegations.

  19                                                        Dr. Badre is expected to testify
          62.       Nicholas Badre
  20                                                        regarding training for providers
                                                            and the relationship between
  21                                                        the County of San Diego and
  22                                                        CPMG. Dr. Badre may
                                                            express opinions related to his
  23                                                        area of expertise and/or his
  24                                                        conduct related to plaintiffs’
                                                            allegations.
  25

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   1
          No.           Name            Date Called            Qualifications
   2                                     to Testify
                 Hsien Chiang                         Dr. Chiang is expected to
   3      63.
                                                      testify to the matters set forth
   4                                                  in the County’s expert witness
                                                      disclosure, including but not
   5
                                                      limited to Sheriff’s Department
   6                                                  medical and mental health
   7
                                                      policies and procedures,
                                                      standards of care.
   8                                                  Dr. Chiang may also testify in
   9
                                                      rebuttal to expert or opinion
                                                      testimony in his area of
  10                                                  expertise
  11
                 Steven Elig                          Dr. Elig is expected to testify
  12      64.
                                                      to the matters set forth in the
  13                                                  County’s expert witness
                                                      disclosure, including but not
  14                                                  limited to the matters in his
  15                                                  reports and well as regarding
                                                      the results of his IME. Dr. Elig
  16                                                  will testify regarding Plaintiff’s
  17                                                  damages. Dr. Elig may also
                                                      testimony in rebuttal to expert
  18                                                  or opinion testify in his area of
  19                                                  expertise

  20                                                  Mr. Flynn is expected to testify
          65.    Dennis Flynn
  21                                                  to the matters set forth in the
                                                      County’s expert witness
  22                                                  disclosure, including but not
  23                                                  limited to County of San Diego
                                                      jail practices. Mr. Flynn may
  24                                                  also testify in rebuttal to expert
  25                                                  or opinion testimony in his area
                                                      of expertise.
  26

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                                           41
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   1
          No.           Name            Date Called           Qualifications
   2                                     to Testify
                 Todd Kilmade                         Mr. Kilmade may testify
   3      66.
                                                      regarding his knowledge of
   4                                                  and/or involvement with Heron
                                                      Moriarty and others.
   5

   6
                 Yoko Larkin                          Ms. Larkin may testify
          67.
   7
                                                      regarding her knowledge of
                                                      and/or involvement with Heron
   8                                                  Moriarty and others.
   9
                 Miles Lelevier                       Mr. Lelevier is expected to
  10      68.
                                                      testify regarding his knowledge
  11                                                  of and/or involvement with
                                                      Heron Moriarty or other
  12                                                  persons. Mr. Lelevier may
  13                                                  express opinions related to his
                                                      area of expertise as an
  14                                                  employee of the San Diego
  15                                                  Sheriff’s Department and/or his
                                                      conduct related to plaintiffs’
  16                                                  allegations.
  17
                 Aliso Moriarty                       Mr. Moriarty may testify
  18      69.
                                                      regarding his knowledge of
  19                                                  and/or involvement with Heron
                                                      Moriarty and others.
  20

  21             Mesquite Moriarty                    Mr. Moriarty may testify
          70.
                                                      regarding his knowledge of
  22                                                  and/or involvement with Heron
  23                                                  Moriarty and others.
  24

  25

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                                           42
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   1
          No.              Name            Date Called           Qualifications
   2                                        to Testify
                    Robert Taylor                        Mr. Taylor is expected to
   3      71.
                                                         testify to the matters set forth
   4                                                     in the County’s expert witness
                                                         disclosure, including but not
   5
                                                         limited to the matters in his
   6                                                     reports. He will testify
   7
                                                         regarding Plaintiffs’ economic
                                                         damages. Mr. Taylor may also
   8                                                     testify in rebuttal to expert or
   9
                                                         opinion testimony in his area of
                                                         expertise
  10

  11
                I. Reserved Witnesses by County of San Diego
  12

  13      No.              Name            Date Called           Qualifications
                                            to Testify
  14
                    Deputy Asannish                      Mr. Asannish is expected to
          72.
  15                                                     testify regarding his knowledge
                                                         of and/or involvement with
  16
                                                         Heron Moriarty or other
  17                                                     persons. Mr. Asannish may
                                                         express opinions related to his
  18
                                                         area of expertise as an
  19                                                     employee of the San Diego
                                                         Sheriff’s Department and/or his
  20
                                                         conduct related to plaintiffs’
  21                                                     allegations.
  22
                    Officer Cravener                     Mr. Cravener is expected to
          73.
  23                                                     testify regarding his knowledge
  24
                                                         of and/or involvement with
                                                         Heron Moriarty or other
  25                                                     persons. Mr. Cravener may
  26
                                                         express opinions related to his
                                                         area of expertise as law
  27                                                     enforcement officer and/or his
  28
                                               43
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   1                                                  conduct related to plaintiffs’
   2                                                  allegations.
   3                                                  Mr. Dwyer is expected to
          74.    Sean Dwyer
   4                                                  testify regarding his knowledge
                                                      of and/or involvement with
   5                                                  Heron Moriarty or other
   6                                                  persons. Mr. Dwyer may
                                                      express opinions related to his
   7                                                  area of expertise as an
   8                                                  employee of the San Diego
                                                      Sheriff’s Department and/or his
   9                                                  conduct related to plaintiffs’
  10                                                  allegations.
  11
                 Luis Escobar                         Mr. Escobar is expected to
          75.
  12                                                  testify regarding his knowledge
                                                      of and/or involvement with
  13
                                                      Heron Moriarty or other
  14                                                  persons. Mr. Escobar may
                                                      express opinions related to his
  15
                                                      area of expertise as an
  16                                                  employee of the San Diego
                                                      Sheriff’s Department and/or his
  17
                                                      conduct related to plaintiffs’
  18                                                  allegations.
  19
                 Arnold Fajayan                       Mr. Fajayan is expected to
          76.
  20                                                  testify regarding his knowledge
                                                      of and/or involvement with
  21
                                                      Heron Moriarty or other
  22                                                  persons. Mr. Fajayan may
                                                      express opinions related to his
  23
                                                      area of expertise as an
  24                                                  employee of the San Diego
                                                      Sheriff’s Department and/or his
  25
                                                      conduct related to plaintiffs’
  26                                                  allegations.
  27

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                                           44
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   1                                                  Mr. Fonzi is expected to testify
          77.    Robert Fonzi
   2                                                  to the matters set forth in the
                                                      County’s expert witness
   3                                                  disclosure, including but not
   4                                                  limited to the matters in his
                                                      reports, use of force, jail
   5                                                  procedures and housing. Mr.
   6                                                  Fonzi may also testify in
                                                      rebuttal to expert or opinion
   7                                                  testimony in his area of
   8                                                  expertise.
   9                                                  Dr. Joshua is expected to
          78.    Alfred Joshua
  10                                                  testify to the matters set forth
                                                      in the County’s expert witness
  11                                                  disclosure, including but not
  12                                                  limited to San Diego County
                                                      Sheriff’s Department medical
  13
                                                      and mental health programs,
  14                                                  policies, procedures and
                                                      training. Dr. Joshua may also
  15
                                                      testify in rebuttal to expert or
  16                                                  opinion testimony in his area of
                                                      expertise.
  17

  18             Colleen Kelly                        Ms. Kelly is expected to testify
          79.
                                                      to the matters set forth in the
  19
                                                      County’s expert witness
  20                                                  disclosure, including but not
                                                      limited to the matters in her
  21
                                                      reports, statistical analysis of
  22                                                  suicides within San Diego
                                                      County jails and other
  23
                                                      correctional facilities. Ms.
  24                                                  Kelly may also testify in
                                                      rebuttal to expert or opinion
  25
                                                      testimony in her area of
  26                                                  expertise.
  27

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                                           45
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   1                                                  Ms. Lefter is expected to testify
          80.    Judy Lefter
   2                                                  regarding her knowledge of
                                                      and/or involvement with Heron
   3                                                  Moriarty or other persons. Ms.
   4                                                  Lefter may express opinions
                                                      related to her area of expertise
   5                                                  as a PERT clinician and/or his
   6                                                  conduct related to plaintiffs’
                                                      allegations.
   7

   8             Christopher McClean                  Mr. McClean is expected to
          81.
                                                      testify to the matters set forth
   9                                                  in the County’s expert witness
  10                                                  disclosure, including but not
                                                      limited to inmate suicide and
  11                                                  jail statistics. Mr. McClean
  12                                                  may also testify in rebuttal to
                                                      expert or opinion testimony in
  13
                                                      his area of expertise
  14
                 Kevin McNeeley                       Mr. McNeeley is expected to
  15      82.
                                                      testify regarding his knowledge
  16                                                  of and/or involvement with
                                                      Heron Moriarty or other
  17
                                                      persons. Mr. McNeeley may
  18                                                  express opinions related to his
                                                      area of expertise as an
  19
                                                      employee of the San Diego
  20                                                  Sheriff’s Department and/or his
                                                      conduct related to plaintiffs’
  21
                                                      allegations.
  22
                 Deputy Mangulsh                      Mr. Mangulsh is expected to
  23      83.
                                                      testify regarding his knowledge
  24                                                  of and/or involvement with
                                                      Heron Moriarty or other
  25
                                                      persons. Mr. Mangulsh may
  26                                                  express opinions related to his
  27
                                                      area of expertise as an
                                                      employee of the San Diego
  28
                                           46
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   1                                                  Sheriff’s Department and/or his
   2                                                  conduct related to plaintiffs’
                                                      allegations.
   3

   4             Rob Mitchell                         Mr. Mitchell is expected to
          84.
                                                      testify regarding his knowledge
   5                                                  of and/or involvement with
   6                                                  Heron Moriarty or other
                                                      persons. Mr. Mitchell may
   7                                                  express opinions related to his
   8                                                  area of expertise as an
                                                      employee of the San Diego
   9                                                  Sheriff’s Department and/or his
  10                                                  conduct related to plaintiffs’
                                                      allegations.
  11

  12             Dan Murtaugh                         Mr. Murtaugh is expected to
          85.
                                                      testify regarding his knowledge
  13
                                                      of and/or involvement with
  14                                                  Heron Moriarty or other
                                                      persons. Mr. Murtaugh may
  15
                                                      express opinions related to his
  16                                                  area of expertise as an
                                                      employee of the San Diego
  17
                                                      Sheriff’s Department and/or his
  18                                                  conduct related to plaintiffs’
                                                      allegations.
  19

  20
                 Deputy Olsen                         Mr. Olsen is expected to testify
          86.
                                                      regarding his knowledge of
  21
                                                      and/or involvement with Heron
  22                                                  Moriarty or other persons. Mr.
                                                      Olsen may express opinions
  23
                                                      related to his area of expertise
  24                                                  as an employee of the San
                                                      Diego Sheriff’s Department
  25
                                                      and/or his conduct related to
  26                                                  plaintiffs’ allegations.
  27

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   1                                                  Ms. Preechar is expected to
          87.    Jaime Preechar
   2                                                  testify regarding her
                                                      knowledge of and/or
   3                                                  involvement with Heron
   4                                                  Moriarty or other persons. Ms.
                                                      Preechar may express opinions
   5                                                  related to her area of expertise
   6                                                  as an employee of the San
                                                      Diego Sheriff’s Department
   7                                                  and/or her conduct related to
   8                                                  plaintiffs’ allegations.
   9                                                  Mr. Seaman is expected to
          88.    Scott Seaman
  10                                                  testify regarding his knowledge
                                                      of and/or involvement with
  11                                                  Heron Moriarty or other
  12                                                  persons. Mr. Seaman may
                                                      express opinions related to his
  13
                                                      area of expertise as an
  14                                                  employee of the San Diego
                                                      Sheriff’s Department and/or his
  15
                                                      conduct related to plaintiffs’
  16                                                  allegations.
  17
                 Edwin Schroeder                      Mr. Schroeder is expected to
          89.
  18                                                  testify regarding his knowledge
                                                      of and/or involvement with
  19
                                                      Heron Moriarty or other
  20                                                  persons. Mr. Schroeder may
                                                      express opinions related to his
  21
                                                      area of expertise as an
  22                                                  employee of the San Diego
                                                      Sheriff’s Department and/or his
  23
                                                      conduct related to plaintiffs’
  24                                                  allegations.
  25

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   1                                                         Ms. Womack is expected to
          90.        Lizzie Womack
   2                                                         testify regarding her
                                                             knowledge of and/or
   3                                                         involvement with Heron
   4                                                         Moriarty or other persons. Ms.
                                                             Womack may express opinions
   5                                                         related to her area of expertise
   6                                                         as an employee of the San
                                                             Diego Sheriff’s Department
   7                                                         and/or her conduct related to
   8                                                         plaintiffs’ allegations.
   9                                                         Mr. Wynn is expected to testify
          91.        Deputy Wynn
  10                                                         regarding his knowledge of
                                                             and/or involvement with Heron
  11                                                         Moriarty or other persons. Mr.
  12                                                         Wynn may express opinions
                                                             related to his area of expertise
  13
                                                             as an employee of the San
  14                                                         Diego Sheriff’s Department
                                                             and/or his conduct related to
  15
                                                             plaintiffs’ allegations.
  16

  17            J.    Witnesses to be called at trial by Weidenthaler
  18
          No.               Name              Date Called               Qualifications
  19                                           to Testify
                     Dale Weidenthaler                       Dale Weidenthaler is a
  20      92.
                                                             defendant in this case.
  21                                                         Weidenthaler will testify
                                                             regarding his duties and
  22
                                                             responsibilities at the Vista
  23                                                         Detention Facility and the
                                                             housing placement decision
  24
                                                             concerning Heron Moriarty.
  25

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                                                  49
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   1                                                  Amanda Daniels is a defendant
          93.    Amanda Daniels
   2                                                  in this case. Daniels will
                                                      testify regarding her care and
   3                                                  treatment of Mr. Moriarty,
   4                                                  including her housing
                                                      recommendation and
   5                                                  involvement in the Multi-
   6                                                  Disciplinary Group meeting
                                                      and interaction with others
   7                                                  involved in his care and
   8                                                  housing.
   9                                                  Deputy Guillory is expected to
          94.    Deputy Lois Guillory
  10                                                  testify regarding her
                                                      observations and interaction
  11                                                  with Mr. Moriarty. She is will
  12                                                  testify regarding her
                                                      interactions with Dale
  13
                                                      Weidenthaler, PNP Daniels and
  14                                                  Dr. Lissaur as it relates to Mr.
                                                      Moriarty. She will testify
  15
                                                      regarding the MDG meeting.
  16
                                                      Dr. Lissaur is a Defendant in
  17      95.    Dr. Ralph Lissaur
                                                      this case. He is expected to
  18                                                  testify regarding his medical
                                                      background, his training
  19
                                                      regarding suicide prevention
  20                                                  and is outlook on suicide
                                                      prevention. Dr. Lissaur is also
  21
                                                      expected to testify about his
  22                                                  care and treatment of Mr.
                                                      Moriarty.
  23

  24                                                  Ms. Banks is expected to
          96.    Ruby Banks
                                                      testify regarding her
  25
                                                      knowledge of and/or
  26                                                  involvement with Heron
  27
                                                      Moriarty or other persons. Ms.
                                                      Banks may express opinions
  28
                                           50
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   1                                                  related to her area of expertise
   2                                                  as an employee of the San
                                                      Diego Sheriff’s Department
   3                                                  and/or her conduct related to
   4                                                  plaintiffs’ allegations.
   5                                                  Mr. Fonzi is expected to testify
          97.    Robert Fonzi (Expert)
   6                                                  to the matters set forth
                                                      Weidenthaler’s expert witness
   7                                                  disclosure, including but not
   8                                                  limited to the matters in his
                                                      reports, jail procedures and
   9                                                  housing. Mr. Fonzi may also
  10                                                  testify in rebuttal to expert or
                                                      opinion testimony in his area of
  11                                                  expertise
  12
                                                      Dr. Addario is expected to
  13      98.    Dominick Addario,
                 M.D. (Expert)                        testify to the matters set forth
  14                                                  in Weidenthaler’s expert
                                                      witness disclosure, including
  15
                                                      but not limited to his reports as
  16                                                  well as regarding the results of
                                                      his IME’s. Dr. Addario will
  17
                                                      testify regarding Plaintiffs’
  18                                                  damages and Heron Moriarty’s
                                                      behavioral history.
  19

  20                                                  Dr. Elig is expected to testify
          99.    Stephen Elig, M.D.
                 (Expert)                             to the matters set forth in
  21
                                                      Weidenthaler’s expert witness
  22                                                  disclosure, including but not
                                                      limited to the matters in his
  23
                                                      reports and well as regarding
  24                                                  the results of his IME. Dr. Elig
                                                      will testify regarding Plaintiff’s
  25
                                                      damages. Dr. Elig may also
  26                                                  testimony in rebuttal to expert
  27
                                                      or opinion testify in his area of
                                                      expertise
  28
                                           51
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   1                                                       Mr. Taylor is expected to
         100.     Robert Taylor, CPA
   2              (Expert)                                 testify to the matters set forth
                                                           in Weidenthaler’s expert
   3                                                       witness disclosure, including
   4                                                       but not limited to the matters in
                                                           his reports. He will testify
   5                                                       regarding Plaintiffs’ economic
   6                                                       damages. Mr. Taylor may also
                                                           testify in rebuttal to expert or
   7                                                       opinion testimony in his area of
   8                                                       expertise.
   9                                                       Nagy was employed by the
         101.     William Nagy
  10                                                       Sheriff’s Department at VDF
                                                           and will testify regarding his
  11                                                       knowledge of the relevant
  12                                                       events and circumstances in the
                                                           Ad-Seg unit on the morning of
  13
                                                           May 31, 2016.
  14

  15         K.    Witnesses to be called by Dr. Lissaur
  16
          No.            Name             Date Called               Qualifications
  17                                       to Testify
                  Ralph Lissaur, M.D.                      Dr. Lissaur is a defendant in
  18     102.
                                                           this case. He will testify
  19                                                       regarding his training,
                                                           education and background as
  20
                                                           well as his care and treatment
  21                                                       of decedent.
  22
                  Zachary D. Torry,                        Dr. Torry is an expert witness
         103.
  23                                                       and is expected to testify as to
                  M.D. (expert)                            the matters set forth in the Dr.
  24
                                                           Lissaur’s expert witness
  25                                                       disclosure, including but not
  26
                                                           limited to his reports. Dr. Torry
                                                           will testify as to the standard of
  27                                                       care and in rebuttal of
  28                                                       plaintiffs’ expert.
                                              52
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   1                                                    Mr. Taylor is expected to
         104.     Robert Taylor, CPA
   2                                                    testify to the matters set forth
                  (Expert)                              in Dr. Lissaur’s expert witness
   3                                                    disclosure, including but not
   4                                                    limited to the matters in his
                                                        reports. He will testify
   5                                                    regarding Plaintiffs’ economic
   6                                                    damages. Mr. Taylor may also
                                                        testify in rebuttal to expert or
   7                                                    opinion testimony in his area of
   8                                                    expertise.
   9                                       IV.

  10                              JOINT EXHIBIT LIST

  11    Exhibit    Date        Date                       Description
         No.      Marked     Admitted
  12

  13
          1.                             May 28, 2016 Fax to County from Michelle –
                                                     (MM10340-0343)
  14
          2.                             May 30, 2016 Fax to County from Michelle –
  15                                              4 pages (MM10322-0327)
  16      3.                                    Incident Reports (SDSO0015-025)
  17      4.                              Medical Intake Form (SDSO00127-0136)
  18
          5.                            Medical Chart (SDSO00137-0181,0550-0560)
  19
          6.                            Fax from Sharp Mesa Vista to VDF - May 31,
  20                                            2016 (SDSO00184-207, 183)
  21      7.                             MAR – Refusal of Meds (SDSO00208-0209)
  22      8.                                Refusal Forms – (SDSO00217-0220)
  23
          9.                             Faxes from Michelle to VDF – produced by
  24                                             County (SDSO00223-231)
  25      10.                            March 2016 – J.1 Safety Cells (SDSO00487-
                                                           0490)
  26
          11.                            March 2016 – J.5 Inmate Suicide Prevention
  27                                               (SDSO00491-0494)
  28
                                           53
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   1    Exhibit    Date       Date                        Description
         No.      Marked    Admitted
   2

   3      12.                             March 2016 – J.5.V Inmate Safety Program
                                                   (SDSO001342-01344)
   4
          13.                             November 2015 – J.4 EOH (SDSO00502-
   5                                                     0505)
   6      14.                                   M.25 – Psychiatric Security Unit
                                                    (SDSO001102-01105)
   7

   8
          15.                            January 2016 – M.25 – Psychiatric Security
                                                Unit (SDSO001354-01357)
   9
          16.                                MSD.P.8 – Psychiatric Security Unit
  10                                              (SDSO001114-01124)
  11      17.                            MSD.S.10 – Suicide Prevention and Inmate
                                          Safety (12/10/15) (SDSO001135-01141)
  12

  13                          PLAINTIFFS’ EXHIBIT LIST
  14    Exhibit    Date       Date                        Description
         No.      Marked    Admitted
  15

  16      18.                           Calendar Entries (MM1001-MM002)
  17      19.                           Verizon Call Log (MM1003-011)
  18      20.                           Family Photos (MM10453-514)
  19
          21.                           Family Disneyland Photo Used in Complaint
  20
          22.                           May 30, 2016 Fax – 1 page (MM10328)
  21
          23.                           Arrest Reports (SDSO001-014)
  22

  23
          24.                           Follow-Up Investigative Report (SDSO0026-
                                        046 & SDSO00335-0374)
  24
          25.                           Segregated Housing Order (SDSO00320)
  25
          26.                           January 2016 – J.4 EOH (SDSO001345-
  26                                    01348)
  27

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                                           54
       PRETRIAL CONFERENCE ORDER                       Case No.: 3:17-cv-01154-LAB-AGS
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   1    Exhibit    Date       Date                      Description
         No.      Marked    Admitted
   2

   3      27.                           March 2015 – EOH Sworn Staff
                                        (SDSO00827-0829)
   4
          28.                           Decision Tree (SDSO00985-0987)
   5
          29.                           Amended Grand Jury Report re Suicides
   6                                    (SDSO00904-0914)
   7      30.                           June 2017 Response to Grand Jury Report
   8
                                        (SDSO0561-0564)

   9      31.                           In-Custody Suicide Data (SDSO00582-0587;
                                        0816-0825; 0830-0836)
  10
          32.                           PPT: MDG in Detentions (SDSO00838-0852)
  11
          33.                           PPT: Suicide Prevention – YES, it’s a problem
  12                                    (SDSO00853-0871)
  13
          34.                           Hernandez Email re Pilot Program
  14                                    (SDSO00978-0979)

  15      35.                           Johnson Texts (SDSO001041-00)
  16      36.                           Weidenthaler May 31, 2016 Timecard
                                        (SDSO001358)
  17

  18
          37.                           Previous In-Custody Suicide Investigations
                                        (SDSO001359-01476)
  19
          38.                           November 2016 – New Suicide Procedures
  20                                    (SDSO001483-01487)
  21      39.                           CPMG and County Contract (CPMG0036-
                                        064)
  22
          40.                           Psych Provider Termination (EMAIL0118-
  23                                    0122)
  24
          41.                           Termination for Cause (EMAIL0515-0516)
  25
          42.                           Notice of Termination for Convenience
  26
          43.                           CPMG – Psychiatrist Orientation
  27                                    (CPMG0028-0034)
  28
                                           55
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   1    Exhibit    Date        Date                     Description
         No.      Marked     Admitted
   2

   3      44.                           April 22, 2015 – Email to Mannis re New
                                        Policies (055-085)
   4
          45.                           December 23, 2015 – Email to Mannis re New
   5                                    Policies (156-215)
   6      46.                           Pattern/Notice Emails (EMAIL-001-1118)
   7      47.                           DRC Report
   8
                           PLAINTIFFS’ RESERVED EXHIBITS
   9
          48.                           Tax Documents (MM10026-0257)
  10
          49.                           April 2016, Sharp Vista Medical Records
  11

  12      50.                           May 2016, County of San Diego Behavioral
                                        Assessment
  13
          51.                           Scene Photos (SDSO379, 393, 399-400, 410,
  14                                    425, 431, 437, 447, 453, 460, )
  15      52.                           Booking Intake (SDSO00313)
  16      53.                           Autopsy, Investigative, and Toxicology
  17
                                        Report (SDSO00 (SDSO0056-068)(may
                                        remove pending stipulation)
  18
          54.                           Laboratory Crime Report (SDSO0069-0110)
  19                                    (may remove pending stipulation)
  20      55.                           Schematic of South House (SDSO0325)
  21      56.                           Housing Report (SDSO00329-0332)
  22
          57.                           Central Incident Reports – May 25, 2016
  23                                    (SDSO00477-0483)
  24      58.                           2014 Training Bulletin: Consideration when
                                        dealing with armed or unarmed suicidal
  25                                    subjects
  26      59.                           March 2016 Training Bulletin: In-custody
                                        Death/Suicide Prevention
  27

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       PRETRIAL CONFERENCE ORDER                      Case No.: 3:17-cv-01154-LAB-AGS
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   1    Exhibit    Date       Date                       Description
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   2

   3      60.                           July 2015 Training Bulletin: Suicide
                                        Prevention and Awareness for Inmates
   4                                    (SDSO00506-0509)

   5      61.                           July 2014 Training Bulletin: The Role of
                                        Adult Correctional Officers in Preventing
   6                                    Suicide (SDSO00510-0512)
   7      62.                           March 2016 Training Bulletin: Intensified
                                        Format Training Suicide Awareness and
   8                                    Prevention (SDSO00513-0514)
   9      63.                           Cord Cuff Restraint (SDSO00515-0517) (may
  10
                                        remove pending stipulation)

  11      64.                           October 2014 – I.93 Use of Restraint
                                        Equipment (SDSO00518-0523) (may remove
  12                                    pending stipulation)
  13      65.                           March 2016 – I.93v Use of Restraint
                                        Equipment (SDSO00526) (may remove
  14                                    pending stipulation)
  15      66.                           MSD.I.3 – Intake Receiving/Screening
                                        Assessment (SDSO001106-01113)
  16

  17      67.                           August 2005 Bureau of Justice Statistics:
                                        Suicide and Homicide in State Prisons and
  18                                    Local Jails (SDSO00570-0581)

  19      68.                           PPT: Preventing Suicide in Correctional
                                        Facilities (general) (SDSO00588-0616)
  20
          69.                           JPMU Training Manual (SDSO00681-683)
  21

  22      70.                           Title 15 Minimum Standards for Local
                                        Detention Facilities (SDSO0723-725, 735,
  23                                    739-740)

  24      71.                           Detention Risk Assessment Committee
                                        (DRAC) Suicide Prevention Implementation
  25                                    Plan (SDSO00872-0875)
  26      72.                           PPT: Suicide Prevention in Custody (SDC)
                                        (SDSO00876-0888)
  27

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   1    Exhibit    Date       Date                      Description
         No.      Marked    Admitted
   2

   3      73.                           PPT: Detention Services Bureau
                                        (SDSO00938, 0949-0958
   4
          74.                           Emails to Moriarty (SDSO00967-00975)
   5
          75.                           Suicide Training by Year (SDSO00992-0993)
   6

   7
          76.                           MDG Roster for May 31, 2016
                                        (SDSO001001-01007)
   8
          77.                           Arrest/Contact Report re May 1, 2016 Suicidal
   9                                    Behavior (SDSO001063-01066) (may remove
                                        pending stipulation)
  10
          78.                           New Medical Intake Questions
  11                                    (SDSO001496-01505)
  12      79.                           Meeting Minutes re Pilot Program (PP002-
                                        PP061
  13

  14      80.                           CPMG Psych Jail Orientation (001-022)

  15      81.                           CPMG and County Communications (034-
                                        042; 051)
  16
          82.                           CPMG SAFETY (052-053)
  17

  18
          83.                           Lissaur JIMS Training – (217-218)

  19      84.                           CPMG Meeting Minutes (221; 227-232)
  20      85.                           CPMG Journal Club (233-259)
  21      86.                           November 2014 – Psych Orientation Training
                                        re Scheduling (260-261)
  22

  23      87.                           January 2016 – Orientation for New
                                        Providers(222-226)
  24
          88.                           CPMG Decision Tree (CPMG008-0010)
  25
          89.                           CPMG Acuity Guidelines (CPMG0011-0012)
  26

  27      90.                           Email re Moriarty and moving I/Ps out of
                                        AdSeg (CPMG0014-015)
  28
                                           58
       PRETRIAL CONFERENCE ORDER                      Case No.: 3:17-cv-01154-LAB-AGS
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   1    Exhibit    Date       Date                      Description
         No.      Marked    Admitted
   2

   3      91.                           Fajayan Complaint re Lissaur (CPMG0025-
                                        0026)
   4
          92.                           Documents from Subpoena to Chase Bank for
   5                                    Heron Moriarty Accounts
   6      93.                           Documents from Subpoena to California
                                        Highway Patrol (08-12)
   7

   8
          94.                           Documents from Subpoena to El Cajon Police
                                        Department (03-12)
   9
          95.                           Documents from Subpoena to PERT
  10
          96.                           Documents from Subpoena to Sharp Mesa
  11                                    Vista Hospital (may remove pending
                                        stipulation)
  12
          97.                           Documents from Subpoena to Union Bank re
  13                                    Comfort Air and Electric
  14
          98.                           Documents from Subpoena to Union Bank re
  15                                    Heron Moriarty

  16      99.                           County Audio Interviews
  17      100.                          SDCJ Videos
  18      101.                          RSD Videos
  19
          102.                          VDF Intake Videos
  20
          103.                          County Radio Audios
  21
          104.                          Audio re Uncooperative Inmate
  22

  23      105.                          Audio re 911 Calls
  24      106.                          Audio of Voicemail from VDF Nurse to
                                        Michelle Moriarty
  25
          107.                          Report of Defense Expert Dominick Addario
  26

  27      108.                          Report of Defense Expert C. Hsien Chiang
  28
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   1    Exhibit    Date       Date                       Description
         No.      Marked    Admitted
   2

   3      109.                          Report of Defense Expert Steven Elig
   4      110.                          Report of Defense Expert Robert Fonzi
   5      111.                          Report of Defense Expert Colleen Kelly
   6      112.                          Report of Defense Expert Dennis Flynn
   7
          113.                          Report of Defense Expert Robert Taylor
   8
          114.                          Report of Defense Expert Mark Kalish
   9
          115.                          Report of Defense Expert Zachary Torry
  10

  11      116.                          Report of Plaintiff Expert Richard Lichten
  12      117.                          Report of Plaintiff Expert Michael McMunn
  13      118.                          Report of Plaintiff Expert Robert Canning
  14      119.                          Report of Plaintiff Expert Kaycea Campbell
  15
          120.                          Report of Plaintiff Expert Jeffrey L. Metzner
  16
          121.                          Any documents needed for rebuttal or
  17                                    impeachment purposes
  18      122.                          Any document needed to lay a foundation or
                                        authentication for any exhibit
  19

  20      123.                          Any Exhibit or document identified by any
                                        other party
  21
          124.                          Any deposition exhibit not identified herein
  22

  23   ///
  24   ///
  25   ///
  26   ///
  27   ///
  28   ///
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       PRETRIAL CONFERENCE ORDER                      Case No.: 3:17-cv-01154-LAB-AGS
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   1                                        V.
   2                     DEFENDANTS’ JOINT EXHIBIT LIST
   3    Exhibit  Date         Date                      Description
   4
         No.    Marked      Admitted

   5      201.                          Jail Incident Report (Inmate Status
                                        Report) by M. Angulo – 5/26/16 -
   6                                    Incident #164020165
   7
          202.                          3/11/16 Detentions P&P – J.1 re
   8                                    Safety Cells
   9      203.                          3/11/16 Detentions P&P – J.5 re
  10                                    Inmate Suicide Prevention (also
                                        Exhibit 11 to deposition of Ralph
  11                                    Lissaur)
  12
          204.                          11/20/15 Sheriff’s Detentions
  13                                    policy J.4 re enhanced observation
                                        housing
  14

  15      205.                          CAD Event E3323237 - 5/1/16
                                        (also Exhibit 4 to Todd Kilmade
  16                                    deposition)
  17
          206.                          1/28/16 Detention Services policy
  18                                    M.25 re Psychiatric Security Unit
  19      207.                          12/31/14 Medical Services
  20                                    Division policy MSD.I.3 re Intake
                                        Receiving/Screening Assessment
  21
          208.                          12/23/15 Medical Services
  22
                                        Division policy MSD.P.8 re
  23                                    Psychiatric Security Unit
  24      209.                          4/30/15 Medical Services Division
  25                                    policy MSD.S.1 re Safety Cell Use

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       PRETRIAL CONFERENCE ORDER                       Case No.: 3:17-cv-01154-LAB-AGS
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   1    Exhibit  Date         Date                      Description
         No.    Marked      Admitted
   2

   3      210.                          12/10/15 Medical Services
                                        Division policy MSD.S.10 re
   4                                    Suicide Prevention & Inmate
   5                                    Safety Program

   6      211.                          3/14/16 VDF green sheet J.5.V re
                                        Inmate Safety Program
   7

   8      212.                          1/28/16 Detentions Services policy
                                        M.25 re Psychiatric Security Unit
   9
          213.                          Machete
  10

  11
          214.                          Exhibit 11 to deposition of Arnold
                                        Fajayan – MSD.P.15
  12
          215.                          Exhibit 12 to deposition of Arnold
  13                                    Fajayan – MSD.S.10
  14
          216.                          Exhibit 1 to deposition of Earl
  15                                    Goldstein – MDG in Detentions
  16      217.                          Exhibit 3 to deposition of Earl
  17                                    Goldstein – Bates SDSO 000541 –
                                        SDSO 000560
  18
          218.                          Exhibit 5 to deposition of Earl
  19
                                        Goldstein – Bates SDSO 000187 –
  20                                    SDSO 000207 – Sharp Hospital
                                        records
  21

  22      219.                          Exhibit 6 to deposition of Earl
                                        Goldstein – Bates SDSO 000127 –
  23                                    SDSO 000158, 000165, 000183 –
  24                                    000241
  25      220.                          Exhibit 7 to deposition of Earl
                                        Goldstein – screen shot Bates
  26
                                        SDSO 000560
  27

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   1    Exhibit  Date         Date                      Description
         No.    Marked      Admitted
   2

   3      221.                          CPMG’s 7/19/18 Response to
                                        Michelle Moriarty’s Request for
   4                                    Production of Documents (Set
   5                                    One)

   6      222.                          Exhibit 1 to deposition of Mesquite
                                        Moriarty - photos
   7

   8      223.                          Exhibit 2 to deposition of Mesquite
                                        Moriarty - email
   9
          224.                          Exhibit 3 to deposition of
  10
                                        Alexandria Moriarty - photo
  11
          225.                          Exhibit 4 to deposition of
  12                                    Alexandria Moriarty - photo
  13      226.                          Exhibit 5 to deposition of
  14                                    Alexandria Moriarty - photo
  15      227.                          Exhibit 6 to deposition of Michelle
                                        Moriarty, volume 1 – aerial photo
  16

  17      228.                          Exhibit 7 to deposition of Michelle
                                        Moriarty, volume 2 – handwritten
  18                                    Letter
  19
          229.                          Exhibit 8 to deposition of Michelle
  20                                    Moriarty, volume 2 – handwritten
                                        Letter
  21

  22      230.                          Exhibit 9 to deposition of Michelle
                                        Moriarty, volume 2 – handwritten
  23                                    Letter
  24
          231.                          Exhibit 10 to deposition of
  25                                    Michelle Moriarty, volume 2 –
                                        Email
  26

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   1    Exhibit  Date         Date                     Description
         No.    Marked      Admitted
   2

   3      232.                          Exhibit 11 to deposition of
                                        Michelle Moriarty, volume 2 –
   4                                    Email
   5
          233.                          Exhibit 12 to deposition of
   6                                    Michelle Moriarty, volume 2 –
                                        Email
   7

   8      234.                          Exhibit 13 to deposition of
                                        Michelle Moriarty, volume 2 –
   9                                    email
  10
          235.                          Exhibit 14 to deposition of
  11                                    Michelle Moriarty, volume 2 –
                                        email
  12

  13
          236.                          Exhibit 15 to deposition of
                                        Michelle Moriarty, volume 2 –
  14                                    facebook post
  15      237.                          Exhibit 17 to deposition of
  16                                    Michelle Moriarty, volume 2 –
                                        facebook post
  17

  18
          238.                          Exhibit 19 to deposition of
                                        Michelle Moriarty, volume 2 –
  19                                    facebook post
  20      239.                          Exhibit 20 to deposition of
  21                                    Michelle Moriarty, volume 2 –
                                        facebook post
  22
          240.                          Exhibit 22 to deposition of
  23
                                        Michelle Moriarty, volume 2 –
  24                                    Declaration of Michelle Moriarty
  25      241.                          Exhibit 23 to deposition of
  26                                    Michelle Moriarty, volume 2 –
                                        Request for Domestic Violence
  27                                    Restraining Order
  28
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       PRETRIAL CONFERENCE ORDER                      Case No.: 3:17-cv-01154-LAB-AGS
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   1    Exhibit  Date         Date                      Description
         No.    Marked      Admitted
   2

   3      242.                          Exhibit 24 to deposition of
                                        Michelle Moriarty, volume 2 –
   4                                    photos
   5
          243.                          Exhibit 26 to deposition of
   6                                    Michelle Moriarty, volume 2 –
                                        Application for Assessment,
   7
                                        Evaluation, and Crisis Intervention
   8                                    or Placement for Evaluation and
                                        Treatment
   9

  10      244.                          Documents regarding
                                        communications between Michelle
  11                                    Moriarty and County of San
  12                                    Diego/jail staff

  13      245.                          2009 Tax records
  14      246.                          2012 Tax records
  15      247.                          2013 Tax records
  16
          248.                          2014 Tax records
  17
          249.                          2015 Tax records
  18
          250.                          Exhibit 3 to deposition of Richard
  19
                                        Lichten – trial testimony
  20
          251.                          Exhibit 4 to deposition of Richard
  21                                    Lichten – Lichten’s response to
  22                                    plaintiff Susan Barden’s Request
                                        for Admissions
  23
          252.                          Exhibit 6 to deposition of Richard
  24
                                        Lichten – deposition excerpt
  25                                    Motion in Limine Curry v City of
                                        Los Angeles
  26

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                                            65
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   1    Exhibit  Date         Date                      Description
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   2

   3      253.                          Exhibit 7 to deposition of Richard
                                        Lichten – deposition excerpt
   4
          254.                          Exhibit 8 to deposition of Richard
   5
                                        Lichten – Order re Motions in
   6                                    Limine, Objections to classes of
                                        exhibits and jury questionnaire
   7

   8      255.                          Exhibit 5 to deposition of Ralph
                                        Lissaur – MSD.P.15
   9
          256.                          Exhibit 8 to deposition of Ralph
  10
                                        Lissaur – Officer Report of Deputy
  11                                    Escobar Bates 000008 - 000010
  12      257.                          Exhibit 1 to deposition of Amanda
  13
                                        Daniels – 5/31/16 medical chart

  14      258.                          Exhibit 2 to deposition of Amanda
                                        Daniels – 5/31/16 medical chart
  15
          259.                          Exhibit 3 to deposition of Amanda
  16
                                        Daniels – 5/30/16 medical chart
  17
          260.                          Exhibit 6 to deposition of Amanda
  18                                    Daniels – 5/28/16 medical chart
  19
          261.                          Exhibit 1 to Deposition of Todd
  20                                    Kilmade (photo)
  21      262.                          Exhibit 2 to Deposition of Todd
  22                                    Kilmade (photo)

  23      263.                          Exhibit 5 to Deposition of Todd
                                        Kilmade - El Cajon Police
  24
                                        Department records
  25
          264.                          Exhibit 2 to deposition of Lizzie
  26                                    Womack – flowsheet
  27
          265.                          Timeline
  28
                                            66
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   1    Exhibit  Date         Date                     Description
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   2

   3      266.                          Heron Moriarty Medical Records from San
                                        Diego County Jail
   4
          267.                          Text Message between Amanda Daniels and
   5                                    Deputy Johnson
   6      268.                          Medical Records of Heron Moriarty
                                        including his autopsy report
   7

   8
          269.                          San Diego County Sheriff s Incident
                                        Reports for May 26,27, and
   9                                    31 2016
  10      270.                          Multidisciplinary Group Meeting Notes
  11
                                        dated May 31,2016

  12      271.                          March 2016 J.1 Safety Cells (SDSO 00487-
                                        0490
  13
          272.                          March 2016 J.5 Inmate Suicide Prevention
  14                                    (SDSO 00491-0494)
  15      273.                          March 2016 J.5 Inmate Safety Program
                                        (SDSO 001342-01344)
  16

  17      274.                          Diagram of South House – Vista Detention
                                        Facility
  18
          275.                          Photo of Weidenthaler Office
  19
          276.                          Diagram of Vista Detention Center
  20

  21
          277.                          Expert Report (Robert Fonzi)

  22      278.                          Expert Report (Dr. Addario) Eternity
                                        Moriarty
  23
          279.                          Expert Report (Dr. Addario) Alexandria
  24                                    Moriarty
  25      280.                          Expert Report (Dr. Addario) Elijah Moriarty
  26
          281.                          Expert Report (Dr. Addario) Michelle
  27                                    Moriarty

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   1    Exhibit  Date         Date                     Description
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   2

   3      282.                          Expert Report (Elig)

   4      283.                          Expert Report (Taylor)
   5      284.                          Weidenthaler timecard
   6      285.                          Daniels progress note 000158
   7
          286.                          Jail Incident Report (Admin Seg ISR) by L.
   8                                    Guillory – 5/31/16 - Incident # 164020770
   9      DEFENDANT COUNTY OF SAN DIEGO’S RESERVED EXHIBITS
  10      301.                          Arrest Report by Miles Lelevier – 5/25/16 –
                                        Case #16126588,
  11                                    SDSO 000001 – SDSO 000007
  12      302.                          Officer Report by Deputy Luis Escobar –
                                        5/26/16 – Case #16126588,
  13                                    SDSO 000008 – SDSO 000010
  14      303.                          Property and Evidence Report by Miles
                                        Lelevier – Case #16126588,
  15                                    SDSO 000011
  16      304.                          Statement of Case form – 5/25/16,
                                        SDSO 000012 – SDSO 000013
  17
          305.                          Witness List by Miles Lelevier – 5/25/16 -
  18                                    Case #16126588,
                                        SDSO 000014
  19
          306.                          Follow-up Investigative Report by W,
  20                                    Altenhof re statement of Ruby Banks on
                                        7/13/16,
  21                                    SDSO 000026 – SDSO 000027
  22                                    Follow-up Investigative Report by W.
          307.
                                        Altenhof re statement of Sean Dwyer on
  23                                    7/13/16,
                                        SDSO 000028 – SDSO 000029
  24
          308.                          Follow-up Investigative Report by Felix
  25                                    Santiesteban re statement of Luis Escobar
                                        on 7/6/16,
  26                                    SDSO 000030 – SDSO 000031
  27

  28
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    1   Exhibit  Date         Date                      Description
         No.    Marked      Admitted
    2
          309.                          Follow-up Investigative Report by L,
    3                                   Brannan re statement of Lois Guillory on
                                        7/12/16,
    4                                   SDSO 000032 – SDSO 000033
    5                                   Follow-up Investigative Report by W,
          310.
                                        Altenhof re statement of Bruce Hightower
    6                                   on 7/13/16,
                                        SDSO 000034 – SDSO 000035
    7

    8     311.                          Follow-up Investigative Report by D.
                                        Murtaugh re statement of Joshua
    9
                                        Hoodenpyle on 6/1/16,
                                        SDSO 000036 – SDSO 000038
   10                                   Follow-up Investigative Report by Det.
          312.
   11
                                        Santiesteban re statement of Miles Lelevier
                                        on 7/6/16,
   12
                                        SDSO 000039 – SDSO 000040

   13     313.                          Follow-up Investigative Report by D.
                                        Murtaugh re statement of Christopher
   14                                   Olsen on 6/1/16,
                                        SDSO 000041 – SDSO 000043
   15
          314.                          Follow-up Investigative Report by D.
   16                                   Murtaugh re statement of Anthony White on
                                        6/1/16,
   17                                   SDSO 000044 – SDSO 000046

   18     315.                          Officer Report by Thomas Browning –
                                        5/31/16 – Case #16127463, SDSO 000047
   19
          316.                          Crime/Incident Report by Alejandro
   20                                   Sanchez – 5/31/16 – Case #16127463,
                                        SDSO 000048
   21
          317.                          Officer Report by Joshua Hoodenpyle –
   22                                   5/31/16 - Case #16127463, SDSO 000049
   23     318.                          Officer Report by Salvador Moreno –
                                        5/31/16 - Case #16127463, SDSO 000050
   24
          319.                          Officer Report by Nicholas Morgan –
   25                                   5/31/16 - Case #16127463, SDSO 000051
   26     320.                          Officer Report by Jon Nuqui – 5/31/16 -
                                        Case #16127463,
   27                                   SDSO 000052
   28
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    1   Exhibit  Date         Date                     Description
         No.    Marked      Admitted
    2
          321.                          Officer Report by Alejandro Sanchez –
    3                                   5/31/16 - Case #16127463,
                                        SDSO 000053 – SDSO 000055
    4
          322.                          Investigative Report by Medical Examiner
    5                                   Investigator Susan Stolberg – 7/31/16,
                                        SDSO 000064 – SDSO 000067
    6

    7     323.                          Office of the Medical Examiner Toxicology
                                        Report by Iain McIntyre – 6/27/16,
    8
                                        SDSO 000068

    9     324.                          Crime Laboratory Service Report – Event 1
                                        - by Doree Racicot,
   10
                                        SDSO 000069 – SDSO 000073;
                                        SDSO 000080 – SDSO 000081
   11                                   Crime Laboratory Service Report – Event
          325.
   12
                                        2 – by Monica Stanton,
                                        SDSO 000082 – SDSO 000087
   13
          326.                          Crime Laboratory Service Report –Event 3
   14                                   – by Doree Racicot,
                                        SDSO 000088 – SDSO 000102
   15
          327.                          Crime Laboratory Service Report – Event 4
   16                                   – by Linda Wright,
                                        SDSO 000103 – SDSO 000106
   17
          328.                          Crime Laboratory Service Report –Event 5
   18                                   – by David Martinez,
                                        SDSO 000107 – SDSO 000109
   19
          329.                          Property/Evidence Form by Santiesteban,
   20                                   SDSO 000110
   21     330.                          CAD Report – Event No. 3378446,
                                        SDSO 000111 – SDSO 000113
   22
          331.                          CAD Report – Event No. 3378475,
   23                                   SDSO 000114 – SDSO 000121
   24     332.                          CAD Report – Event No. 3378490,
                                        SDSO 000122 – SDSO 000123
   25
          333.                          CAD Report – Event No. 3378509,
   26                                   SDSO 000124 – SDSO 000125
   27     334.                          Vista Fire Department records of Heron
                                        Moriarty,
   28                                   SDSO 000243 – SDSO 000254
                                            70
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    1   Exhibit  Date         Date                      Description
         No.    Marked      Admitted
    2
          335.                          Jail Area Activities Summary Report for
    3                                   5/31/16,
                                        SDSO 000255 – SDSO 000267
    4
          336.                          Jail Area Activity Report – 5/25/16 -
    5                                   6/1/16,
                                        SDSO 000268 – SDSO 000310
    6

    7     337.                          Booking Jacket of Heron Moriarty –
                                        Booking #16133045,
    8
                                        SDSO 000311 – SDSO 000323

    9     338.                          Homicide Briefing Roster – 5/31/16, SDSO
                                        000324
   10                                   DOJ Death In Custody Reporting Form,
          339.
   11
                                        SDSO 000326

   12     340.                          Inmate Death Notification Check List –
                                        5/31/16, SDSO 000327
   13
          341.                          Heron Moriarty Inmate Detail print-out,
   14                                   SDSO 000328

   15     342.                          Jail Inmate History Report for Heron
                                        Moriarty,
   16                                   SDSO 000329 – SDSO 000331

   17     343.                          Jail Inmate History Report for Heron
                                        Moriarty re Housing Movement, SDSO
   18                                   000332
   19     344.                          Crime/Incident Report by Joshua
                                        Hoodenpyle – 6/1/16 – Case #16127655,
   20                                   SDSO 000333 – SDSO 000334
   21     345.                          Follow-up Investigative Report by W.
                                        Altenhof – 6/2/16 – Case #16127655, SDSO
   22                                   000335
   23     346.                          Follow-up Investigative Report by W.
                                        Altenhof – 8/8/16 – Case #16127655, SDSO
   24                                   000336
   25     347.                          Follow-up Investigative Report by L.
                                        Brannan – 7/6/16 – Case #16127655,
   26                                   SDSO 000337 – SDSO 000338
   27     348.                          Officer Report by Sean Dwyer – 6/1/16 -
                                        Case #16127655,
   28                                   SDSO 000339
                                            71
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    1   Exhibit  Date         Date                      Description
         No.    Marked      Admitted
    2
          349.                          Follow-up Investigative Report by D.
    3                                   Murtaugh – 6/14/16 - Case #16127655,
                                        SDSO 000340 – SDSO 000341
    4
          350.                          Officer Report by Steven Frazier – 6/1/16 -
    5                                   Case #16127655,
                                        SDSO 000342
    6

    7     351.                          Officer Report by Scott Paris – 6/1/16 Case
                                        #16127655,
    8
                                        SDSO 000343 – SDSO 000345

    9     352.                          Officer Report by Joanna Perez – 6/1/16 -
                                        Case #16127655,
   10
                                        SDSO 000346

   11     353.                          Follow-up Investigative Report by B.
                                        Powell – 6/3/16 - Case #16127655,
   12
                                        SDSO 000347 – SDSO 000348

   13     354.                          Officer Report by Alejandro Sanchez –
                                        6/1/16 - Case #16127655, SDSO 000349
   14
          355.                          Follow-up Investigative Report by Det.
   15                                   Santiesteban – 6/15/16 - Case #16127655,
                                        SDSO 000350
   16
          356.                          Follow-up Investigative Report by Det.
   17                                   Santiesteban – 7/21/16 - Case #16127655,
                                        SDSO 000351
   18
          357.                          Follow-up Investigative Report by B.
   19                                   Patterson – 9/19/16 - Case #16127655 with
                                        redacted photos,
   20                                   SDSO 000352 – SDSO 000367
   21     358.                          Officer Report by Stanley Snyder – 6/1/16 -
                                        Case #16127655,
   22                                   SDSO 000368
   23     359.                          Officer Report by James Stathes – 6/1/16 -
                                        Case #16127655,
   24                                   SDSO 000369 – SDSO 000371
   25     360.                          Follow-up Investigative Report re Synopsis
                                        by B. Patterson – 6/2/16 - Case #16127655,
   26                                   SDSO 000372 – SDSO 000373
   27     361.                          Witness list by Joshua Hoodenpyle – 6/1/16
                                        - Case #16127655, SDSO 000374
   28
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    1   Exhibit  Date         Date                      Description
         No.    Marked      Admitted
    2
          362.                          Photos of scene and Moriarty for Incident
    3                                   #16127463,
                                        SDSO 000375 – SDSO 000379
    4
          363.                          SDCJ Team 4 Roster,
    5                                   SDSO 000476
    6                                   Officer Report by Joseph Andali – 7/6/16 -
          364.
    7
                                        Case #16127655,
                                        SDSO 000477
    8                                   Officer Report by Carl Fielstra – 7/6/16 -
          365.
    9
                                        Case #16127655,
                                        SDSO 000478
   10                                   Officer Report by Nicholas Gaspar – 7/6/16
          366.
   11
                                        - Case #16127655, SDSO 000479

   12     367.                          Officer Report by Joseph Navarro – 7/6/16 -
                                        Case #16127655,
   13                                   SDSO 000480 – SDSO 000481

   14     368.                          Officer Report by Anthony Oliver – 7/7/16 -
                                        Case #16127655,
   15                                   SDSO 000482

   16     369.                          Officer Report by Stanley Snyder – 7/6/16 -
                                        Case #16127655,
   17                                   SDSO 000483

   18     370.                          March 2016 Training Bulletin re In-Custody
                                        Death/Suicide Prevention, SDSO 000486
   19
          371.                          Audio recording of statement of Michelle
   20                                   Moriarty on 6/6/16
   21     372.                          Video – Rancho San Diego Sheriff’s
                                        substation on 5/25/16
   22
          373.                          Video – Rancho San Diego Sheriff’s
   23                                   substation on 5/25/16
   24     374.                          Video - Rancho San Diego Sheriff’s
                                        substation on 5/25/16 – Cell 3
   25
          375.                          Video - SDCJ Sally port – west view on
   26                                   5/25/16
   27     376.                          Video - SDCJ Sally port – east view on
                                        5/25/16
   28
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    1   Exhibit  Date         Date                      Description
         No.    Marked      Admitted
    2
          377.                          Video - VDF Intake video CAM 9 on
    3                                   5/25/16 – 5/26/16
    4                                   Video - VDF Intake video CAM 8 on
          378.
                                        5/25/16 – 5/26/16
    5

    6     379.                          Video - VDF Intake sally port video CAM 3
                                        on 5/25/16 – 5/26/16
    7                                   Video - VDF Intake sally port video CAM 5
          380.
    8
                                        on 5/25/16 – 5/26/16

    9     381.                          Video - VDF Intake video CAM 2 on
                                        5/25/16 – 5/26/16
   10
          382.                          Video - VDF Intake video CAM 3 on
   11                                   5/25/16 – 5/26/16

   12     383.                          Video - VDF Ad Seg video CAM 12 on
                                        5/31/16
   13
          384.                          Audio recording of call to VDF re
   14                                   uncooperative prisoner

   15     385.                          Audio recording of radio traffic -
                                        E3378475, 2231-2350 HRS
   16
          386.                          Audio recording of radio traffic -
   17                                   E3378475
   18
          387.                          Audio recording of 911 call - E3378446
   19                                   PH11
   20     388.                          Audio recording of 911 call - E3378446
                                        PH17
   21
          389.                          Audio recording of 911 call - E3378475
   22                                   PH18
   23     390.                          Audio recording of 911 call - E3378475
                                        PH19
   24
          391.                          Audio recording of 911 call - E3378490
   25                                   PH17
   26     392.                          Audio recording of 911 call - E3378509
                                        PH11
   27

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    1   Exhibit  Date         Date                      Description
         No.    Marked      Admitted
    2
          393.                          6/1/16 Email from Stanley Snyder to Edwin
    3                                   Schroeder re Heron Moriarty/ timeline/
                                        handwritten notes,
    4                                   SDSO 000495 – SDSO 000500
    5                                   Sheriff’s Department policy 25 re prisoner
          394.
                                        transportation to Patrol Procedures Manual,
    6                                   SDSO 000495 – SDSO 000499
    7                                   11/20/15 Sheriff’s Detentions policy I.21 re
          395.
    8
                                        Housing Unit Area Activity Log,
                                        SDSO 000500 – SDSO 000501
    9                                   7/6/15 Training bulletin re Suicide
          396.
   10
                                        prevention and awareness for inmates,
                                        SDSO 000506 – SDSO 000509
   11                                   July 2014 Training Bulletin re The Role of
          397.
   12
                                        Adult Correctional Officers in Preventing
                                        Suicide,
   13
                                        SDSO 000510 – SDSO 000512

   14     398.                          Training Bulletin re Suicide Awareness and
                                        Prevention,
   15                                   SDSO 000513

   16     399.                          3/2/16 Use of Force Guidelines Addendum
                                        F page 13,
   17                                   SDSO 000514

   18     400.                          Training bulletin re Cord Cuff Maximum
                                        Restraint Technique Application,
   19                                   SDSO 000515 – SDSO 000517

   20     401.                          10/3/14 Sheriff’s Detentions policy I.93 re
                                        Use of Restraint Equipment,
   21                                   SDSO 000518 – SDSO 000523
   22     402.                          3/14/16 VDF green sheet I.51.V re Inmate
                                        Movements,
   23                                   SDSO 000524 – SDSO 000525
   24     403.                          3/14/16 VDF green sheet I.93.V re Use of
                                        Restraint Equipment,
   25                                   SDSO 000526
   26     404.                          May 2016 Training Bulletin re Use of Force
                                        and Handcuffed Prisoners,
   27                                   SDSO 000527
   28
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    1   Exhibit  Date         Date                      Description
         No.    Marked      Admitted
    2
          405.                          VDF Deployment logs from 5-25-16 to 5-
    3                                   31-16,
                                        SDSO 000528 – SDSO 000540
    4
          406.                          6/29/17 Response to Grand Jury Report re
    5                                   Suicides in San Diego Jails dated 5/4/17,
                                        SDSO 000561 – SDSO 000564
    6

    7     407.                          October 2016 Sheriff’s Medical Services
                                        Division policy and procedure table of
    8
                                        contents,
                                        SDSO 000565 – SDSO 000569
    9                                   August 2005 DOJ Suicide Rates report,
          408.
   10
                                        SDSO 000570 – SDSO 000581

   11     409.                          Spreadsheet data from US DOJ website,
                                        SDSO 000582 – SDSO 000584
   12
          410.                          2011-2016 Jail Stats,
   13                                   SDSO 000585

   14     411.                          Completed Suicides 2000-2017,
                                        SDSO 000586 – SDSO 000587
   15
          412.                          Inmate suicide statistics,
   16                                   SDSO 000957 – SDSO 000958

   17     413.                          Court documents re People v. Heron
                                        Moriarty Case Nol. MH112634,
   18                                   SDSO 000959 – SDSO 000966
   19     414.                          Inmate emails of Heron Moriarty from
                                        5/27/16 – 5/31/16,
   20                                   SDSO 000967 – SDSO 000975
   21     415.                          Documents re suicide prevention and
                                        training,
   22                                   SDSO 000976 – SDSO 000999
   23     416.                          Tracking report re multi-disciplinary group
                                        meeting for 5/31/16,
   24                                   SDSO 001000 – SDSO 001007
   25     417.                          Court documents re Case No. EV24964,
                                        SDSO 001008 – SDSO 001023
   26
          418.                          Court documents re Case No. EV25070,
   27                                   SDSO 001024 – SDSO 001039
   28
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    1   Exhibit  Date         Date                     Description
         No.    Marked      Admitted
    2
          419.                          Deputy Report re 5/25/16 incident at
    3                                   Rancho San Diego station, SDSO 001058
    4                                   Officer Report by Travis Womack – 5/26/16
          420.
                                        – Case #16126588, SDSO 001059
    5

    6     421.                          Timeline of Events re Case #16127655,
                                        SDSO 001060
    7                                   Officer report by Nicolas Gowanlock –
          422.
    8
                                        5/1/16 – Case #16122131,
                                        SDSO 001061 – SDSO 001062
    9
          423.                          Arrest/Juvenile Contact Report by Scott
   10
                                        Seaman – 5/1/16 – Case #16122131,
                                        SDSO 001063 – SDSO 001066
   11
          424.                          CAD Event E3323508 - 5/1/16,
   12                                   SDSO 001077

   13     425.                          CAD Event E3323531 - 5/1/16,
                                        SDSO 001078 – SDSO 001079
   14
          426.                          CAD Event E3323564 - 5/1/16,
   15                                   SDSO 001080 – SDSO 001084

   16     427.                          CAD Event E3334801 - 5/6/16,
                                        SDSO 001085
   17
          428.                          CAD Event E3339631 - 5/9/16,
   18                                   SDSO 001086
   19     429.                          CAD Event E3339655 - 5/9/16,
                                        SDSO 001087 – SDSO 001088
   20
          430.                          CAD Event E3358384 - 5/17/16,
   21                                   SDSO 001089 – SDSO 001090
   22     431.                          CAD Event E3373642 - 5/24/16,
                                        SDSO 001091 – SDSO 001095
   23
          432.                          CAD Event E3375892 - 5/24/16,
   24                                   SDSO 001096 – SDSO 001097
   25     433.                          CAD Event E3376539 - 5/25/16,
                                        SDSO 001098 – SDSO 001099
   26
          434.                          CAD Event E2597882 - 6/18/15,
   27                                   SDSO 001100 – SDSO 001101
   28
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    1   Exhibit  Date         Date                      Description
         No.    Marked      Admitted
    2
          435.                          Body worn camera video footage referenced
    3                                   in Arrest/Juvenile Contact Report by Scott
                                        Seaman – 5/1/16 – Case #16122131,
    4                                   SDSO 001142
    5                                   1/1/06 – 12/31/16 Inmate Population
          436.
                                        Summary,
    6                                   SDSO 001143
    7                                   3/2/16 Use of Force Guidelines –
          437.
    8
                                        Addendum F,
                                        SDSO 001144 – SDSO 001163
    9                                   11/4/15 Training outlines re Use of Force,
          438.
   10
                                        SDSO 001164 – SDSO 001180

   11     439.                          9/2/14 Training bulletin re Weapons
                                        Systems,
   12
                                        SDSO 001181 – SDSO 001187

   13     440.                          Chemical Agent Types PPT,
                                        SDSO 001188 – SDSO 001229
   14
          441.                          Chemical Agents Training Outline,
   15                                   SDSO 001230 – SDSO 001231

   16     442.                          Chemical Agents PPT,
                                        SDSO 001232 – SDSO 001241
   17
          443.                          Chemical Agent Handbook,
   18                                   SDSO 001242 – SDSO 001256
   19     444.                          The History of Chemical Agent PPT,
                                        SDSO 001257 – SDSO 001272
   20
          445.                          Chemical Agent Laws PPT,
   21                                   SDSO 001273 – SDSO 001295
   22     446.                          Methods of Delivery PPT,
                                        SDSO 001296 – SDSO 001338
   23
          447.                          Most Often Asked Questions About
   24                                   Chemical Agents and OC in California,
                                        SDSO 001339 – SDSO 001341
   25
          448.                          1/28/16 Detentions Services policy J.4 re
   26                                   Enhanced Observation Housing,
                                        SDSO 001345 – SDSO 001348
   27

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    1   Exhibit  Date         Date                      Description
         No.    Marked      Admitted
    2
          449.                          1/12/16 VDF green sheet L.1.V re Laundry
    3                                   Schedule,
                                        SDSO 001349 – SDSO 001350
    4
          450.                          4/8/16 Detentions Services policy L.1 re
    5                                   Laundry Schedule,
                                        SDSO 001351 – SDSO 001353
    6

    7     451.                          Subpoenaed records from East County
                                        Mental Health Clinic
    8                                   Subpoenaed records from Sharp Mesa Vista
          452.
    9
                                        Hospital

   10     453.                          Subpoenaed records from Sharp Coronado
                                        Hospital
   11
          454.                          Subpoenaed records from PERT
   12                                   (Psychiatric Emergency Response Team)

   13     455.                          Subpoenaed records from United Contractor
                                        Alliance, Inc./United Plumbing
   14
          456.                          Subpoenaed records from NASSCO
   15
          457.                          Subpoenaed records from F. Anne
   16                                   Truschmann
   17     458.                          Subpoenaed records from El Cajon Police
                                        Department
   18
          459.                          Subpoenaed records from California
   19                                   Highway Patrol
   20     460.                          Subpoenaed records from Norman High
                                        School re Elijah Moriarty
   21
          461.                          Subpoenaed records from Steele Canyon
   22                                   High School re Elijah Moriarty
   23     462.                          Subpoenaed records from Norman High
                                        School re Eternity Moriarty
   24
          463.                          Subpoenaed records from Christian Unified
   25                                   Schools re Eternity Moriarty
   26     464.                          Subpoenaed records from Steele Canyon
                                        High School re Alexandria Moriarty
   27

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    1   Exhibit  Date         Date                      Description
         No.    Marked      Admitted
    2
          465.                          Subpoenaed records from JPMorgan Chase
    3                                   Bank c/o CT Corp. re Heron Moriarty (3
                                        volumes)
    4
          466.                          Subpoenaed records from Union Bank re
    5                                   Heron Moriarty
    6                                   Juvenile Court records re Alexandria, Elijah,
          467.
    7
                                        Eternity Moriarty (Vol. 1 of 2)

    8     468.                          Juvenile Court records re Alexandria, Elijah,
                                        Eternity Moriarty (Vol. 2 of 2)
    9
          469.                          Intentionally omitted
   10
          470.                          Robert Taylor economic analysis
   11
          471.                          Deposition with exhibits of Robert Canning
   12                                   re Rochelle Nishimoto, et al. v. County of
                                        San Diego
   13
          472.                          Michelle Moriarty’s responses to special
   14                                   interrogatories (set one) propounded by the
                                        County of San Diego
   15
          473.                          Michelle Moriarty’s responses to request for
   16                                   production of documents (set one)
                                        propounded by the County of San Diego
   17
          474.                          Michelle Moriarty’s responses to request for
   18                                   production of documents (set two)
                                        propounded by the County of San Diego
   19
          475.                          Michelle Moriarty’s responses to special
   20                                   interrogatories (set two) propounded by the
                                        County of San Diego
   21
          476.                          Michelle Moriarty’s responses to request for
   22                                   production of documents (set three)
                                        propounded by the County of San Diego
   23
          477.                          Michelle Moriarty’s responses to special
   24                                   interrogatories (set one) propounded by
                                        Weidenthaler
   25
          478.                          Michelle Moriarty’s responses to request for
   26                                   production of documents (set one)
                                        propounded by Weidenthaler
   27

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    1    Exhibit  Date           Date                        Description
          No.    Marked        Admitted
    2
          479.                               Michelle Moriarty’s responses to special
    3                                        interrogatories (set one) propounded by
                                             CPMG
    4
          480.                               Michelle Moriarty’s responses to request for
    5                                        production of documents (set two)
                                             propounded by Weidenthaler
    6

    7     481.                               Michelle Moriarty’s responses to requests
                                             for admission (set one) propounded by
    8
                                             CPMG

    9     482.                               Michelle Moriarty’s supplemental responses
                                             to requests for admission (set one)
   10
                                             propounded by CPMG

   11     483.                               Michelle Moriarty’s responses to special
                                             interrogatories (set one) propounded by
   12                                        Amanda Daniels

   13     484.                               Michelle Moriarty’s supplemental responses
                                             to special interrogatories (set one)
   14                                        propounded by Amanda Daniels

   15     485.                               Michelle Moriarty’s responses to requests
                                             for admission (set one) propounded by
   16                                        Amanda Daniels

   17     486.                               Michelle Moriarty’s supplemental responses
                                             to requests for admission (set one)
   18                                        propounded by Amanda Daniels

   19                                           VI.
   20                                    STIPULATIONS
   21         The parties have agreed to the following stipulations:
   22         1.    Moriarty was a 44 years old. He was married to his wife Michelle.
   23   They had three children, Alexandria, Elijah, and Eternity.
   24         2.    The Parties stipulate that Defendant Weidenthaler was as working
   25   under his course and scope of employment at all times relevant to the claims
   26   alleged against him.
   27   ///
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    1         3.     According to the medical examiner, Dr. Mena, the cause of death was
    2   asphyxia. The manner of death was a suicide.
    3         4.     Plaintiffs’   initial complaint was filed on June 9, 2017 against the
    4   County of San Diego, Dr. Alfred Joshua, and DOES 1 through 10, inclusive.
    5         5.     Plaintiffs’ first amended complaint was filed on March 21, 2018. The
    6   defendants named in the first amended complaint included the County of San
    7   Diego, Sgt. Weidenthaler, Dr. Lissaur, nurse practitioner Daniels, and CPMG.
    8         6.     On May 26, 2016, Heron Moriarty was arrested and transferred to
    9   Central Jail. At Central Jail, Moriarty was asked if he was suicidal. He answered
   10   “no,” then “yes.” The sergeant on duty refused to accept him because the Central
   11   Jail did not have a safety cell available. The sergeant confirmed that a safety cell
   12   was available at Vista Detention Facility.
   13         7.     A “safety cell” is a secured cell meant to prevent an inmate from
   14   harming himself or others.
   15         8.     Moriarty was transferred to Vista Detention Facility. Later that day,
   16   Moriarty was going to be transferred back to Central Jail. Before the transfer,
   17   Moriarty made bizarre and threatening comments to other inmates. A decision was
   18   made to keep Moriarty at Vista Detention Facility and he was placed in an
   19   administrative-segregation cell (“ad-seg”), which is a single occupant cell for
   20   assaultive/homicidal inmates.
   21         9.     Dr. Lissaur evaluated Moriarty on May 28, 2016. Dr. Lissaur is a
   22   psychiatrist. Dr. Lissaur did not believe Moriarty was suicidal. Dr. Lissaur
   23   determined Moriarty was bipolar and was currently acting manic with psychotic
   24   features.
   25         10.    Dr. Lissaur evaluated Moriarty again on May 30, 2016. Dr. Lissaur
   26   determined that Moriarty was experiencing a bipolar/manic episode. Dr. Lissaur
   27   recommended that if Moriarty were to be released the next day, he should be taken
   28   to a hospital and placed on an involuntary psychiatric 72-hour hold for evaluation,
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    1   which is commonly called a “5150 hold.” 5150 is a section of the California
    2   Welfare and Institutions Code that provides adults who are considered a “danger to
    3   themselves or others, or who are gravely disabled” may be placed on an involuntary
    4   hold for up to 72-hours. Moriarty returned to the ad-seg cell, after this evaluation
    5   with Dr. Lissaur.
    6           11.   During Moriarty’s detainment at Vista Detention Facility, his wife,
    7   Michelle, called Vista Detention Facility 31 times and sent multiple faxes. Some of
    8   the phone calls were with nurses at Vista Detention Facility. Michelle Moriarty
    9   believed that Heron Moriarty was suicidal while he was at Vista Detention Facility.
   10   The purpose of some of Michelle Moriarty’s phone calls or faxes were to get
   11   someone at Vista Detention Facility to get Heron Moriarty sent to a hospital or be
   12   placed on a 5150 hold after his release since she was afraid for his life.
   13           12.   Vista Detention Facility officials asked NP Daniels to evaluate
   14   Moriarty on the morning of May 31, 2016 so that she could present her findings to
   15   the Multi-Disciplinary Group meeting, which took place later that morning at 10:00
   16   a.m. Psychiatric Liaison Deputy, Lois Guillory, escorted NP Daniels to Moriarty’s
   17   cell.
   18           13.   NP Daniels was qualified as a psychiatric nurse practitioner to evaluate
   19   Heron Moriarty. NP Daniels’ custom and practice was to review at least the last
   20   psychiatric note prior to evaluating an inmate/patient.
   21           14.   NP Daniels documented her evaluation of Moriarty in an evaluation
   22   note at 8:55 a.m. on May 31, 2016. NP Daniels did not believe Moriarty was
   23   suicidal, but she did believe that Moriarty was psychotic and homicidal because he
   24   threatened to kill anyone who came into his cell to try to move him to a psychiatric
   25   hospital. NP Daniels recommended that Moriarty be placed in a safety cell.
   26   ///
   27   ///
   28   //
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    1           15.   NP Daniels’ recommendation that Moriarty be placed in a safety cell
    2   for homicidal ideations was relayed to Sgt. Weidenthaler through Psychiatric
    3   Liaison Deputy, Louis Guillory. Sgt. Weidenthaler declined to follow NP Daniels’
    4   recommendation to place Moriarty in a safety cell.
    5           16.   Approximately an hour and half after Nurse Daniels’ evaluation on
    6   May 31, 2016, Moriarty’s treatment was discussed in a multi-disciplinary group
    7   meeting. The Parties disagree whether NP Daniels’ recommendation and
    8   Weidenthlaer’s denial was discussed during the meeting. NP Daniels believed that
    9   the other committee members knew her recommendation had been overruled and
   10   that the MDG was merely considering alternatives. Plaintiffs contend other
   11   participants in the meeting testified NP Daniels did not relay that information.
   12   Placement of Moriarty in the “Psychiatric Stabilization Unit” (“PSU”) was
   13   discussed during the multi-disciplinary group meeting. Ultimately, because
   14   Moriarty promised to take prescribed medication, a decision was made to keep
   15   Moriarty in ad-seg.
   16           17.   The criteria to place an inmate in the PSU reflects the same criteria as
   17   defined by the California Welfare and Institution Code 5150.
   18           18.   Moriarty committed suicide at 9:15 p.m. on May 31, 2016.
   19           19.   On June 6, 2016, Michelle Moriarty was interviewed by an
   20   investigator pertaining to Moriarty’s death. During this interview, Michelle
   21   Moriarty told the investigator that she told the jail that Moriarty was a suicide risk
   22   while he was at Vista Detention Facility and that she was worried about his life.
   23   Michelle Moriarty told the investigator that Heron Moriarty should have been put
   24   on suicide watch or something to that affect. The investigator told Michelle
   25   Moriarty that Moriarty was talking to doctors. In response to that statement from
   26   the investigator, Michelle Moriarty told the investigator that they could have done
   27   more.
   28   ///
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    1                                             VII.
    2                      DEPOSITIONS IN LIEU OF TESTIMONY
    3         At the current time, the parties do not anticipate using deposition testimony.
    4   However in the event a witness becomes unavailable, parties reserve the right to
    5   amend this section of the Order.
    6                                            VIII.
    7                                       JURY TRIAL
    8         Parties are invoking their right to a trial by jury.
    9                                             IX.
   10                                   TRIAL ESTIMATE
   11         Parties estimate a fourteen (14) day trial by jury. Each side should be given
   12   equal amount of time for opening statements, closing arguments, and all witnesses
   13   and evidentiary testimony.
   14         The parties agree to the foregoing Pretrial Conference Order in its form and
   15   substance.
   16
        IT IS SO ORDERED
   17

   18
        Dated: _______________, 2020            _____________________________
   19                                           HON. LARRY A. BURNS
   20                                           UNITED STATES DISTRICT JUDGE

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                     Exhibit C
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